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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

ALVIN AVON BRAZIEL, JR.,            §
             Petitioner,            §
                                    §       Civil Action No. 3:09-cv-1591
v.                                  §     (Magistrate Judge Paul D. Stickney)
                                    §
RICK THALER,                        §        * DEATH PENALTY CASE *
Director, Texas Department          §
of Criminal Justice,                §                    ECF
Correctional Institutions Division, §
                  Respondent.       §

     RESPONDENT THALER’S ANSWER WITH BRIEF IN SUPPORT

      In September 1993, Petitioner Alvin Avon Braziel, Jr. approached

newlyweds Lora and Douglas White while they were on an evening walk and

demanded money. After forcing the Whites to their knees, Braziel shot Douglas

in the head, and then forced Lora into a group of bushes where he raped her.

Braziel was eventually found guilty of capital murder and sentenced to death for

the robbery and murder of Douglas White. He now alleges that numerous

constitutional violations occurred during his trial and seeks federal habeas

corpus relief in this Court pursuant to 28 U.S.C. §§ 2241 & 2254.            As

demonstrated below, however, Braziel’s federal habeas corpus petition must be

denied because it is wholly without merit.

                         BRAZIEL’S ALLEGATIONS

      The Director understands Braziel to raise the following seven grounds for

habeas corpus relief:
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   1.    He was denied his right to effective assistance of counsel at the
         punishment phase of trial by counsel’s failure to investigate and
         present mitigating evidence [Petition at 19-22];

   2.    The prosecutor’s failure to correct testimony that he knew to be false
         denied him due process by creating the false impression that
         petitioner was previously convicted of the offense of aggravated
         sexual assault instead of just sexual assault [Petition at 22-26];

   3.    The State failed to disclose a supplemental police report in violation
         of Brady v. Maryland 1 that revealed that the victim of the previous
         sexual assault recanted her original allegation that petitioner had
         used a weapon during the assault [Petition at 26-31];

   4.    Because he is mentally retarded, his death sentence violates the
         Eighth Amendment’s prohibition against the imposition of the death
         penalty to the mentally retarded as set forth in Atkins v. Virginia 2
         [Petition at 31-37];

   5.    He was denied due process by the trial court’s admission of an
         identification which was the product unduly suggestive photo lineup
         [Petition at 37-40];

   6.    The Texas capital sentencing scheme is unconstitutional because
         the aggravating factors employed in Texas Code of Criminal
         Procedure Article 37.071 Section 2(b)(1) are vague and do not
         properly channel the sentencer’s discretion [Petition at 40-49]; and

   7.    The Texas death penalty statute, which instructs the jury that ten
         of them must agree in order to answer special issue no. 1 with a “no”
         answer or special issue no. 2 with a “yes” answer, is
         unconstitutional because it coerces jurors into a “majority rules”
         mentality and fails to inform jurors that the effect of the their
         failure to reach a unanimous verdict on any issue at the punishment
         phase would result in a life sentence [Petition at 49-54].



   1
         373 U.S. 83 (1963).
   2
         536 U.S. 304 (2002).

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      None of the above claims raised by Braziel provide an adequate basis for

federal habeas relief. Initially, the Director asserts that Braziel’s ineffective

assistance of counsel claim (claim 1) has not been presented to the Texas Court

of Criminal Appeals for review and is, therefore, unexhausted and procedurally

defaulted.   Further, although each of the remaining claims was previously

presented to the state court either on direct appeal or in his state habeas

application and are thus exhausted, Braziel has completely failed to demonstrate

that the state court’s adjudication of these claims was either contrary to, or

involved unreasonable applications of, clearly established federal law. As such,

federal habeas relief should be denied.

                            STATEMENT OF THE CASE

      Braziel was indicted, convicted, and sentenced to death in Dallas County,

Texas, for the September 21, 1993, robbery and murder of Douglas White. CR

2 (Indictment), 106-109 (Judgment).3 His conviction and sentence were affirmed

by the Court of Criminal Appeals on direct appeal in an unpublished opinion

delivered October 1, 2003.      Braziel v. State, No. 74,139 (Tex. Crim. App.).

Braziel did not seek a writ of certiorari with the United States Supreme Court

off of his direct appeal.

      While his direct appeal was still pending, Braziel also filed a state

application for writ of habeas corpus in the trial court raising a total of six


      3
             The Director previously forwarded a copy of the state court records to the
Court, which were filed on February 25, 2010. “CR” refers to the Clerk’s Record, and
is followed by the relevant page number. “SHCR” refers to the state habeas Clerk’s
Record—the transcript of pleadings and documents filed with the court during Braziel’s
state habeas proceeding—and is also followed by the relevant page numbers.

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claims for relief. Ex parte Braziel, Jr., No. 72,186-01; SHCR at 2-153. After

considering Braziel’s application and exhibits, the State’s answer and exhibits,

the record of the trial, and the proposed findings submitted by both parties, the

trial court ultimately entered findings of fact and conclusions of law

recommending that relief be denied on Braziel’s application. SHCR at 469-541.

Based upon these findings and conclusions as well as their own review of the

record, the Court of Criminal Appeals adopted the trial court’s findings and

conclusions and denied relief. SHCR at cover; Per Curiam Order dated August

19, 2009. Braziel subsequently filed a federal petition for writ of habeas corpus

in this Court on August 17, 2010. Docket Entry (DE) 16.

                             STATEMENT OF FACTS

I.      Facts of the Crime

        On the evening of September 11, 1993, ten-day newlyweds Lora and Doug

White drove to Eastfield Junior College in Mequite, Texas, to go for a walk along

the school’s jogging trail. Lora testified that although it had gotten dark outside,

parts of the trail were fairly well lit from the lights on the surrounding buildings

and the highway, and there were other people still out walking. 30 RR 30-40.4

After they walked for a while, a man later identified both by photograph and in

court by Lora as Alvin Avon Braziel, Jr., suddenly appeared from behind some

bushes brandishing a silver pistol and demanded money from the couple. Id. at


        4
             “RR” refers to the Reporter’s Record of transcribed trial proceedings, and
is preceded by volume number and followed by page numbers. “SX” refers to the
State’s exhibits followed by exhibit number and page numbers where applicable. “DX”
refers to the Defense’s exhibits, and again is followed by exhibit number and page
numbers where applicable.

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42-44. The Whites responded that they did not have any money on them but

that there was some in their truck, and Braziel started to follow them to the

truck. Id. at 44-45.

      After a few steps, Braziel reproached Doug several times for looking at

him, stating “You shouldn’t have done that.” Id. at 45. Doug told Lora to run,

but Braziel put a gun to Doug’s head and exclaimed that he would “blow his

fucking head off” if she ran. Id. at 46. When Lora told Doug that she would not

leave him, Braziel became frustrated and told the couple to lie down on the

ground. Both Doug and Lora fell to their knees and began to pray out loud. As

they were praying, Braziel pointed the gun at Doug and asked, “Where is your

God at now?” and then shot Doug in the side of the head. Id. at 46-48. As Lora

continued to pray, Braziel kicked Doug, then grabbed him by the arm, put the

gun underneath his chest, and shot him again. Id. at 49. Doug said “Oh my

God, I’m bleeding,” then fell to the ground. Lora heard air coming out of his

chest, and he let out a cry. Id. at 50-51.

      Braziel then grabbed Lora by the arm, put the gun to her head, and

walked her across the field to a bushy area off the track. Id. at 52. He ordered

her to lay down and take her clothes off, and forced her to spread her legs. Id.

at 53-54. Braziel then raped Lora as she continued to pray. Id. at 54. When he

was done, he got within six inches of Lora’s face, kissed her on the top of her lip,

and told her that she had done “real good.” Id. He then forced Lora to perform

oral sex on him at gunpoint. Id. at 56. As Lora was getting dressed afterward,

Braziel told her that he shot Doug because “he deserved it,” but because she “did

real good” he would let her live. Id. at 58. As Braziel walked away, Lora ran to

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check on Doug and then to go get help. When she returned to Doug, someone

was already performing CPR on him. Lora testified that they turned him over

so that he was looking at her, and his eyes “were like they were sorry that he

had to go.” Id. at 61. Doug died on the scene at the junior college. Id. at 63.

      Six years later, with this offense still unsolved, Braziel’s blood was

routinely taken by prison officials after he was incarcerated for a separate

offense of sexual assault of a child. The blood was then sent to the Texas

Department of Public Safety (DPS) Laboratory in Austin to be placed in the

nation-wide CODIS system (Combined DNA Index System). 32 RR 64-65, 73.

Once placed in the system, Braziel’s DNA was matched to the DNA profile

extracted from the vaginal swab and panties collected during Lora’s rape

examination which was entered into the system in 1993.             Id. at 72-76.

Additional testing by an outside laboratory in Utah confirmed that the DNA

match was true and correct. Id. at 75-76. Braziel’s blood and saliva were again

taken in February 2001, and DNA tests were run by DPS in Garland and by

Genescreen. 30 RR 158-60; 31 RR 33-38, 113-14. The tests all concluded that

Braziel’s DNA profile matched the DNA profile taken from Lora’s rape

examination. 31 RR 37-38; 114. One analyst concluded that the DNA profile

that matched Braziel would occur one in 18.5 quadrillion times in the black

population, which was more than the entire population of the earth. Id. at 51-52.

II.   Evidence Relating to Punishment

      In addition to the abundant evidence presented at the guilt/innocence

phase of trial concerning the horrific nature of Doug White’s murder and Lora

White’s rape, the jury also heard evidence at the punishment phase concerning

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Braziel’s past criminal behavior and proclivity for violence. In July 1994, Braziel

pled guilty to the offense of evading arrest after leading Dallas Police Officer

Wendell Jones on a high-speed chase through a residential neighborhood that

included Braziel driving through yards, running a stop sign, and driving down

the wrong side of the road. 33 RR 6-14, 23; SX 116. A few years later, Braziel

was convicted of sexually assaulting a fifteen-year-old girl for which he

ultimately received a five year sentence. 32 RR 13; 33 RR 23; SX 113. According

to Braziel’s probation officer, Courtney Pearce, Braziel originally received

probation but was revoked for failing to abide by the terms of his probation. 33

RR 51-53. Pearce also testified that Braziel was considered a high risk to re-

offend, was deceptive, and was “extremely angry” most of the times she spoke

with him. Id. at 51-52, 54. On one occasion, Braziel stated that his rape victim

“got what she deserved.” Id. at 53.

      Testimony from several witnesses further established that on the morning

of July 14, 1995, Braziel approached Stewart Atnip in his driveway as he was

preparing to leave for work. Id. at 35-36. Brandishing a gun, Braziel ordered

Atnip to get out of the car, but then changed his mind and told Atnip to get back

in the car because he was going to drive. Id. at 37. As Braziel was entering the

back seat, Atnip tried to get away by quickly jumping out of the car, but Braziel

shot him in the buttocks. Id. at 38. The bullet went down into Atnip’s leg and

caused complete numbness from the hip down for six months. Id. at 39. He still

had not completely recovered feeling in the leg at the time of Braziel’s trial. Id.

Atnip’s car was not found until almost six years later when police executed a

search warrant of Braziel’s mother’s house. Id. at 43-44. Braziel had replaced

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the VIN on Atnip’s car with one from his own car, but it was identified as Atnip’s

vehicle by separate VIN numbers located on the engine and transmission. Id.

at 45-47. The mother of Braziel’s child, Danshatta Wilkerson, identified Atnip’s

car as the one Braziel admitted to her that he robbed a man for and later

changed the VIN number on. Id. at 27-30.

      As mitigating evidence, the defense presented the testimony of both Chris

and Sandra Freyer whose son, Kenny, was good friends with Braziel while they

were in high school. 34 RR 5-21, 25-37. The Freyers testified that Braziel was

a smart and pleasant young man who always had at least two jobs. Id. at 8-10,

27-29. Both explained that Braziel spent the night with them often and they

considered him family, and that they had no fear whatsoever of letting him into

their home. Id. at 8, 27-29. They never saw Braziel exhibit any sort of hostility

or anger, and believed that he was a good influence on their son and kept him

out of trouble. Id. at 13. The defense also presented defense attorney William

Matt Fry, Jr., who represented Braziel on his sexual assault conviction. Id. at

22-24.   Fry clarified that Braziel was convicted of sexual assault but not

aggravated sexual assault, as he was not charged with using a deadly weapon

or causing serious bodily harm. Id.

      In rebuttal, the State presented the testimony of Doug White’s younger

sister, Diane Green, who recalled the reactions of her loved ones when they

heard what had happened to Doug and Lora, and the devastating impact her

brother’s murder had on her entire family. Id. at 38-48.




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                           STANDARD OF REVIEW

      Braziel’s petition is governed by the heightened standard of review

provided by the Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA).

28 U.S.C.A. § 2254 (West 2010). Under § 2254(d), Braziel may not obtain federal

habeas corpus relief

      with respect to any claim that was adjudicated on the merits in
      State court proceedings unless the adjudication of the claim–

      (1) resulted in a decision that was contrary to, or involved an
      unreasonable application of, clearly established Federal law, as
      determined by the Supreme Court of the United States; or

      (2) resulted in a decision that was based on an unreasonable
      determination of the facts in light of the evidence presented in the
      State court proceeding.

      The Supreme Court has recently explained this intentionally difficult

standard stops just short of imposing a complete bar on federal court relitigation

of claims already rejected in state proceedings. Harrington v. Richter, 562 U.S.

___, 131 S.Ct. 770, 786 (2011)(citing Felker v. Turpin, 518 U.S. 651, 664 (1996)).

In order to obtain federal habeas relief on a claim previously adjudicated on the

merits in state court, a petitioner must show that the state court’s ruling “was

so lacking in justification that there was an error well understood and

comprehended     in    existing law   beyond any possibility for fairminded

disagreement.” Id.

      The pivotal question for a federal court when reviewing claims previously

rejected by a state court is whether the state court’s determination was factually

or legally unreasonable. Id.; Montoya v. Johnson, 226 F.3d 399, 404 (5th Cir.


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2000). It is well established that a federal court may grant habeas relief only if

a state court “arrives at a conclusion opposite to that reached by [the Supreme]

Court on a question of law or if the state court decides a case differently than

[the] Court has on a set of materially indistinguishable facts.” (Terry) Williams

v. Taylor, 529 U.S. 362, 413 (2000). But under §2254(d), “a federal habeas court

may not issue the writ simply because that court concludes in its independent

judgment that the relevant state-court decision applied clearly established

federal law erroneously or incorrectly. Rather, that application must also be

unreasonable.” Id. at 411. An “unreasonable application” occurs then “if the

state court identifies the correct governing legal principle from this Court’s

decisions but unreasonably applies that principle to the facts of the prisoner’s

case.” Id. at 413. Thus, even a strong case for relief does not mean the state

court’s contrary conclusion was unreasonable. Harrington, 131 S.Ct. at 786

(citing Lockyer v. Andrade, 538 U.S. 63, 71 (2003)).

      A federal habeas court’s inquiry into unreasonableness should always be

objective rather than subjective, and a court should not issue the writ simply

because that court concludes in its independent judgment that the relevant state

court decision applied clearly established federal law erroneously or incorrectly.

(Terry) Williams, 529 U.S. at 409-11; Tucker v. Johnson, 242 F.3d 617, 620-21

(5th Cir. 2001). Instead, federal habeas relief is only merited where the state

court decision is both incorrect and objectively unreasonable. (Terry) Williams,

529 U.S. at 411; Martin v. Cain, 246 F.3d 471, 476 (5th Cir. 2001). In other

words, a state court’s determination that a claim lacks merit precludes federal

habeas relief so long as “fairminded jurists could disagree” on the correctness of

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the state court’s decision. Harrington, 131 S.Ct. at 786 (citing Yarborough v.

Alvarado, 541 U.S. 652, 664 (2004)).

      Further, the Fifth Circuit has held that it is the state court’s “ultimate

decision” that is to be tested for unreasonableness, “not every jot of its

reasoning.” Santellan v. Cockrell, 271 F.3d 190, 193 (5th Cir. 2001); see Neal v.

Puckett, 286 F.3d 230, 246 (5th Cir. 2002) (en banc) (holding that a federal

court’s “focus on the ‘unreasonable application’ test under [§] 2254(d) should be

on the ultimate legal conclusion that the state court reached and not on whether

the state court considered and discussed every angle of the evidence”); Catalan

v. Cockrell, 315 F.3d 491, 493 (5th Cir. 2002) (applying AEDPA deferential

standard of review where state habeas writ was denied without explanation).

Indeed, state courts are presumed to know and follow the law. Woodford v.

Visciotti, 537 U.S. 19, 24 (2002). And, even where the state court fails to cite to

applicable Supreme Court precedent or is unaware of such precedent, the

AEDPA deferential standard of review nevertheless applies “so long as neither

the reasoning nor the result of the state-court decision contradicts [Supreme

Court precedent]. “ Early v. Packer, 537 U.S. 3, 8 (2002).

      In review of a state prisoner’s federal habeas petition, “a determination of

a factual issue made by a State court shall be presumed to be correct,” and the

petitioner “shall have the burden of rebutting the presumption by clear and

convincing evidence.” 28 U.S.C. § 2254(e)(1); Jackson v. Johnson, 150 F.3d 520,

524 (5th Cir. 1998). Moreover, where the petitioner

      has failed to develop the factual basis of a claim in State court
      proceedings, the court shall not hold an evidentiary hearing on the


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         claim unless the applicant shows that

         (A) the claim relies on

               (i) a new rule of constitutional law, made retroactive to cases
               on collateral review by the Supreme Court, that was
               previously unavailable; or

               (ii) a factual predicate that could not have been previously
               discovered through the exercise of due diligence; and

         (B) the facts underlying the claim would be sufficient to establish by
         clear and convincing evidence that but for constitutional error, no
         reasonable factfinder would have found the applicant guilty of the
         underlying offense.

28 U.S.C. § 2254(e)(2); Murphy v. Johnson, 205 F.3d 809, 815 (5th Cir. 2000).

         Thus, in state court, a petitioner “must be diligent in developing the record

and presenting, if possible, all claims of constitutional error. If the prisoner fails

to do so, himself or herself contributing to the absence of a full and fair

adjudication in state court, § 2254(e) prohibits an evidentiary hearing to develop

the relevant claims in federal court, unless the statute’s other stringent

requirements are met.” (Michael) Williams v. Taylor, 529 U.S. 420, 437 (2000).

                                     ARGUMENT

I.       Braziel Was Not Denied the Effective Assistance of Counsel at the
         Punishment Phase of Trial (Claim 1).

         In his first claim for relief, Braziel asserts that his trial counsel were

ineffective for failing to investigate and present compelling mitigating evidence

at the punishment phase. Petition at 19-22. In just over three pages, Braziel

argues that counsels’ investigation into his life history fell “so far below the



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standard of care required of counsel trying capital cases” that his constitutional

rights were violated.    Id.   Without providing any citations or supporting

evidence, Braziel chastises counsel for failing to retain a psychologist, a neuro-

psychologist, or a mitigation investigator, and states that there was “significant”

mitigating evidence available had counsel obtained his medical records or spoke

more often with family members. Id. This includes evidence that he suffered a

head injury as a child, that he had a poor school and work history, that he was

allegedly abused by his step-father, and that some of his family members have

a history of mental problems. Id.

      As discussed below, however, Braziel failed to bring this allegation before

the Court of Criminal Appeals in either his direct appeal or state habeas corpus

proceedings.   Consequently, each of these allegations are unexhausted and

procedurally barred in this Court. Regardless of the procedural bar, Braziel fails

to demonstrate that trial counsel performed deficiently in their mitigation

investigation or that their performance had any prejudicial effect on the outcome

of the punishment phase. Much of the “evidence” Braziel refers to is either

unsubstantiated, unhelpful, or potentially double-edged in nature. Moreover,

he fails to show that a life sentence would have resulted had counsel presented

the evidence he now presents to this Court. When the missing evidence, coupled

with the evidence that was actually offered by the defense, is weighed against

the aggravating evidence, including the circumstances of the crime, there is

simply no reasonable likelihood that the outcome of the proceeding would have

been any different. Habeas relief should therefore be denied.



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      A.     This claim is unexhausted and procedurally defaulted.

      Braziel raises his ineffective assistance of counsel claim for the first time

on federal habeas corpus review, having failed to raise this claim either on direct

appeal or during state collateral review. Thus, it is clear Braziel has failed to

exhaust state court remedies with regard to these claims. It is equally clear,

however, that he would be barred from raising these claims in a successive state

habeas application under Article 11.071 Section 5(a) of the Texas Code of

Criminal Procedure.5

      Pursuant to §2254(b)(1)(A), habeas corpus relief may not be granted

“unless it appears that the applicant has exhausted the remedies available in the

courts of the State.” However, “[b]ecause [the exhaustion] requirement refers

only to remedies still available at the time of the federal petition, it is satisfied

if it is clear that the habeas petitioner’s claims are now procedurally barred

under state law.”     Gray v. Netherland, 518 U.S. 152, 161 (1996) (internal

citations omitted); see also Engle v. Isaac, 456 U.S. 107, 125 n.28 (1982); Castille

v. Peoples, 489 U.S. 346, 351 (1989); Graham v. Johnson, 94 F.3d 958, 969 (5th

Cir. 1996) (“exhaustion is not required if it would plainly be futile”).

Nonetheless, such an unexhausted claim is subject to denial in federal court as

procedurally defaulted. Although under Harris v. Reed, 489 U.S. 255, 265



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             Article 11.071 Section 5(a), which became effective September 1, 1995,
provides that a state court may not consider the merits of or grant relief on claims
presented in a successive state habeas application absent facts giving rise to a
statutory exception. Tex. Code Crim. Proc. Ann. art. 11.071, § 5(a). Braziel has made
no showing that one of the article 11.071 exceptions would apply to allow review of this
claim in state court.

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(1989), federal review of a habeas claim is procedurally barred only if the last

state court to consider the claim expressly and unambiguously based its denial

of relief on a state procedural default,

      [t]his rule does not apply if the petitioner failed to exhaust state
      remedies and the court to which petitioner would be required to
      present his claims in order to meet the exhaustion requirement
      would now find the claims procedurally barred. In such a case there
      is a procedural default for purposes of federal habeas regardless of
      the decision of the last state court to which the petitioner actually
      presented his claims.

Coleman v. Thompson, 501 U.S. 722, 735 n.1 (1991). In the instant case, just as

in Gray, “the procedural bar which gives rise to exhaustion provides an

independent and adequate state-law ground for the conviction and sentence, and

thus prevents federal habeas corpus review of the defaulted claim, unless the

petitioner can demonstrate cause and prejudice for the default.” 518 U.S. at 162

(barring claim on basis that claim would be barred in state court if it were

presented there); Nichols v. Scott, 69 F.3d 1255, 1280 (5th Cir. 1995)(same).

      The Fifth Circuit has held that where a petitioner raises claims in federal

court that have not previously been presented to the state courts, and Article

11.071 Section 5(a) would apply to foreclose review of the claims if presented in

a successive state habeas application, such is an adequate state procedural bar

foreclosing federal habeas review of the claims. Beazley v. Johnson, 242 F.3d

248, 264 (5th Cir. 2001); Nobles v. Johnson, 127 F.3d 409, 422 (5th Cir. 1997);

Muniz v. Johnson, 132 F.3d 214, 221 (5th Cir. 1998). A procedural default such

as this will bar federal habeas review unless the petitioner can show cause for

the default and resulting prejudice, or demonstrate that the court’s failure to


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consider the federal claim will result in a “fundamental miscarriage of justice.”

Harris, 489 U.S. at 262; Barrientes v. Johnson, 221 F.3d 741, 758 (5th Cir. 2000).

      In this case, Braziel neither distinguishes his case from Nobles and Muniz,

nor even attempts to demonstrates cause and prejudice for his failure to raise

this claim in state court. Similarly, Braziel has made no attempt to demonstrate

that the Court’s dismissal of the claim will result in a “fundamental miscarriage

of justice.”    Thus, circuit precedent compels the denial of the claim as

procedurally defaulted.

      B.       The Strickland standard.

      Under Strickland v. Washington, a petitioner cannot establish a violation

of his Sixth Amendment right to counsel unless he demonstrates that (1)

counsel’s performance was deficient and (2) this deficiency prejudiced his

defense. 466 U.S. 668, 687-88, 690 (1984). In determining the merits of an

alleged Sixth Amendment violation, courts “must be highly deferential” to

counsel’s conduct, and a petitioner must show that counsel’s performance fell

beyond the bounds of prevailing objective professional standards. Id. at 687-89.

A reviewing court “must strongly presume that trial counsel rendered adequate

assistance and that the challenged conduct was the product of a reasoned trial

strategy.” Wilkerson v. Collins, 950 F.2d 1054, 1065 (5th Cir. 1992). Every effort

must be made to eliminate the “distorting effects of hindsight.” Strickland, 466

U.S. at 689.      Accordingly, there is a strong presumption that an alleged

deficiency “falls within the wide range of reasonable professional assistance.”

Id.



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      Further, “any deficiencies in counsel’s performance must be prejudicial to

the defense in order to constitute ineffective assistance under the Constitution.”

Id. at 692. In order to establish that he has sustained prejudice, Braziel “must

show that there is a reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different. A reasonable

probability is a probability sufficient to undermine the confidence in the

outcome.”     Id. at 694; Loyd v. Whitley, 977 F.2d 149, 159 (5th Cir. 1992).

Because this showing of prejudice must be “rather appreciable,” a mere

allegation of prejudice is not sufficient to satisfy the prejudice prong of

Strickland. Armstead v. Scott, 37 F.3d 202, 206 (5th Cir. 1994). Because Braziel

must satisfy both prongs of the Strickland test, a failure to establish either

deficient performance or prejudice makes it unnecessary to examine the other

prong. Strickland, 466 U.S. at 697; Ramirez v. Dretke, 398 F.3d 691, 697 (5th

Cir. 2005).

      C.      Braziel has failed to demonstrate that trial counsel’s investigation
              was deficient.

      “Mitigating evidence that illustrates a defendant’s character or personal

history embodies a constitutionally important role in the process of

individualized sentencing, and in the ultimate determination of whether the

death penalty is an appropriate punishment.”      Riley v. Cockrell, 339 F.3d 308,

316 (5th Cir. 2003) (citing Moore v. Johnson, 194 F.3d 586, 612 (5th Cir. 1999)).

Accordingly, counsel may be constitutionally ineffective for failing to exercise

reasonable professional judgment in investigating a defendant’s personal history

that would be relevant to evaluating his moral culpability. Id. (citing Wiggins


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v. Smith, 539 U.S. 510, 522 (2003)). However, counsel is not per se deficient for

failing to present such evidence. Wiggins, 539 U.S. at 522; Moore, 194 F.3d at

615. As the Supreme Court has reiterated, counsel’s decision not to investigate

a particular matter “must be directly assessed for reasonableness in all the

circumstances, applying a heavy measure of deference to counsel’s judgments.”

Wiggins, 539 U.S. at 522.

      In order to establish that counsel was rendered ineffective by virtue of a

failure to investigate, a convicted defendant must do more than merely allege a

failure to investigate; he must state with specificity what the investigation

would have revealed and how it would have altered the outcome of the case.

United States v. Green, 882 F.2d 999, 1003 (5th Cir. 1989). Strategic choices

made after thorough investigation of law and facts relevant to plausible options

are virtually unchallengeable, and strategic choices made after less than

complete investigation are reasonable precisely to the extent that reasonable

professional judgments support the limitations on investigation. Strickland, 466

U.S. at 699. This is because “Strickland does not require counsel to investigate

every conceivable line of mitigating evidence no matter how unlikely the effort

would be to assist the defendant at sentencing. Nor does Strickland require

defense counsel to present mitigating evidence at sentencing in every case.”

Wiggins, 539 U.S. at 533. As such, a “conscious and informed decision on trial

tactics and strategy is not a permissible basis for a claim of ineffective assistance

of counsel unless the strategy was so poor that it robbed the defendant of any

opportunity to get a fair trial.” Smith v. Cockrell, 311 F.3d 661, 668 (5th Cir.

2002) (internal quotation marks and citation omitted).

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      Finally, “[c]ounsel’s decision to pursue one course rather than another is

not to be judged in hindsight,” and the fact that a particular strategy may prove

to be unsuccessful does not by itself establish ineffective assistance. Gray v.

Lucas, 677 F.2d 1086, 1094 (5th Cir. 1982).       Counsel has a duty to make

reasonable investigations or to make a reasonable decision that makes particular

investigations unnecessary. Strickland, 466 U.S. at 699. In any ineffectiveness

case, a particular decision not to investigate must be directly assessed for

reasonableness in all the circumstances, applying a heavy measure of deference

to counsel’s judgments. Id.

      Here, Braziel contends that counsel was deficient for not retaining a

psychologist, a neuro-psychologist, or a mitigation expert to investigate his life

history.   Petition at 19-22.   According to Braziel, had counsel investigated

properly they would have found compelling mitigating evidence that could have

been presented to the jury, including evidence that he suffered a head injury as

a child, that he had a poor work and educational history, that he was allegedly

abused by his step-father, and that mental illness apparently runs in his family.

Id. Yet, Braziel fails to provide any evidence demonstrating that such evidence

even exists, much less demonstrate how counsels’ investigation into the

punishment phase could somehow be considered inadequate under Strickland.

In fact, Braziel even admits in his petition that counsel at least met with his

mother and his “family” once or twice to discuss the circumstances of his

childhood. Petition at 20.

      The only evidence Braziel does provide is the hearsay affidavit of his

mother, Glenda Turner, who concedes that she was contacted by her son’s

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attorneys and that she met with them “once or twice.” Petition at Exhibit 1. In

her affidavit, Ms. Turner claims that her and several members of her family

have been diagnosed as schizophrenics, that Braziel was hit on the head with a

wooden stick by her sister-in-law when he was two-years-old, and that Braziel

was physically abused by her husband (although she never saw the attacks). Id.

But Braziel provides no other evidence whatsoever to support the contentions

made by his mother on his behalf. Nor has he provided medical or social services

records to demonstrate that a history of mental health problems runs in his

family. Similarly, he provides no records or affidavits to demonstrate that he

himself has “manifested symptoms of schizophrenia” or “suffered from organic

brain damage” as he now alleges. As such, Braziel has done nothing more than

merely allege a failure to investigate. Green, 882 F.2d at 1003.

      The Fifth Circuit has determined that conclusory allegations do not state

a claim for federal habeas corpus relief and are subject to summary dismissal.

Koch v. Puckett, 907 F.2d 524, 530 (5th Cir. 1990) (“Mere conclusory statements

do not raise a constitutional issue in a habeas case”); Ross v. Estelle, 694 F.2d

1008, 1011 (5th Cir. 1983)(same); Schlang v. Heard, 691 F.2d 796, 799 (5th Cir.

1982). Because Braziel fails to provide evidence as to what counsel should have

discovered or demonstrate that the investigation done by counsel was in fact

deficient, he cannot overcome the strong presumption that counsel’s conduct falls

within the wide range of reasonable professional assistance.     Strickland, 466

U.S. at 687, 689.

      Furthermore, all of the information Braziel claims counsel should have

discovered—mental illnesses in family, abuse, a childhood head injury, and poor

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work and educational history—was presumably known to both Braziel and his

mother prior to trial.    However, there is no indication that either of them

attempted to inform counsel of this information. The Supreme Court has noted

that trial counsel’s actions are substantially influenced by information supplied

by the defendant, and the reasonableness of investigative decisions depends on

this information. Schriro v. Landrigan, 550 U.S 465, 476-77 (2007)(finding that

where the defendant interferes with counsel’s attempts to present a case in

mitigation, he cannot later claim ineffective assistance); Strickland, 466 U.S. at

691. As such, trial counsel cannot be held ineffective for failing to introduce

evidence that his client failed to disclose. Johnson v. Cockrell, 306 F.3d 249,

252-53 (5th Cir. 2002); Ransom v. Johnson, 126 F.3d 716, 723 (5th Cir. 1997)

(holding that whether or not counsel’s investigation is reasonable may critically

depend on the information provided by the defendant and the defendant’s own

strategic choices concerning his representation); see also Sonnier v. Quarterman,

476 F.3d 349, 362 (5th Cir. 2007)(holding that a criminal defendant cannot block

his attorney’s efforts and later claim that the resulting performance was

constitutionally deficient).

      The reality is that Braziel has provided absolutely no evidence to justify

his assertion that a reasonable sentencing investigation did not take place, or

that there was “significant” mitigating evidence that counsel failed to discover.

Indeed, as discussed in more detail in the next section, much of what Braziel

argues should have been discovered is actually untrue or irrelevant, or was

potentially harmful to his defense. Therefore, because Braziel fails to establish

that trial counsel’s investigation was in any way deficient, his allegation fails the

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first prong of the Strickland test and must be dismissed. Strickland, 466 U.S.

at 697; Ramirez, 398 F.3d at 697.

      D.     Braziel was not prejudiced by counsels’ allegedly deficient
             performance.

      Even if counsel’s performance can somehow be considered deficient for

failing to uncover and present certain evidence, no reasonable probability exists

that this particular evidence would have affected the outcome of Braziel’s trial.

See Strickland, 466 U.S. at 694 (holding that a constitutional violation of a

petitioner’s Sixth Amendment right to counsel is not proven unless it is shown

that there is a reasonable probability that counsel’s deficient performance

affected the outcome of the proceedings). Much of what Braziel claims counsel

should have discovered was either insignificant or was potentially double-edged

in nature.   Additionally, the State’s punishment evidence, along with the

heinous nature of the murder, was simply too overwhelming for counsels’ alleged

deficiency to have had any prejudicial effect on the outcome of the punishment

phase. Id. at 698 (finding no prejudice due to State’s overwhelming evidence on

aggravating factors supporting the death penalty); Jones v. Johnson, 171 F.3d

270, 277(5th Cir. 1999) (finding no prejudice due to brutal facts of murder).

      As an initial matter, it should noted that much of what Braziel faults

counsel for not discovering is simply untrue or unsubstantiated.         Braziel

mentions that he had “been unable to maintain employment” and that this

shortcoming “may have been the result of a mental illness.” Petition at 20.

However, both Sandra and Chris Freyer, the parents of one of Braziel’s friends

with whom he stayed with often, testified on Braziel’s behalf that he held


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numerous jobs, often two at a time, and even worked for a while as a licensed

security guard. 34 RR 27-28; SHCR 334-43. Braziel himself even spoke of his

work as a security guard during his testimony at guilt/innocence. 33 RR 11-12.

Braziel further claims that counsel should have discovered evidence that he

suffered abuse at the hands of his step-father, Johnny Lane. Petition at 22. But

he provides no police, school, social services, or medical records to support his

assertion that he was abused. Braziel’s mother even admits that she doesn’t

remember “seeing the attacks,” but witnessed the physical results of the abuse.

      Furthermore, Braziel fails to demonstrate how much of the evidence he

claims should have been presented during punishment would have been helpful

to his case. Evidence that Braziel sustained an injury as a child would have

little mitigating value because the fact that a child, especially a young boy,

sustained an injury growing up is hardly surprising, and does nothing to set

Braziel’s childhood apart from that of most other children growing up. Without

any more elaboration, it is unclear how such evidence would have any mitigating

effect on the jury, and is certainly not the “powerful” evidence contemplated by

the Court in either Wiggins or (Terry) Williams v. Taylor, 529 U.S. 362, 395-96

(2000).6 In addition, some of evidence Braziel refers to may not be considered


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            In Williams, the evidence petitioner wished to present was that the
parents were imprisoned for criminal neglect; that Williams’s father beat him
repeatedly and severely; that Williams was abused in foster care, and that he was
borderline mentally retarded. 529 U.S. at 395-96. In Wiggins, the missing evidence
was that Wiggins was left alone for days at a time by his mother, a chronic alcoholic;
Wiggins and his siblings were forced to beg for food, or eat paint chips and garbage; the
mother locked the kitchen and beat the children when they broke into it to get food;
Wiggins was hospitalized after his mother pressed his hand to a hot stove burner; and
he was repeatedly physically and sexually abused both in foster care and in a Jobs

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mitigating at all, and may have had a harmful, “double-edged” result. See

Wiggins, 539 U.S. at 535 (Wiggins’s history “contained little of the double edge

we have found to justify limited investigations in other cases.”). For instance,

evidence that Braziel was a poor employee and student and possibly suffers from

mental disorders can arguably be considered just as damaging than it is

beneficial to Braziel in that it could be used to show the jury that he is likely to

continue to be a future danger to society. As such, this evidence is, at best, a

double-edged sword which could reasonably be construed as more likely to prove

harmful to Braziel than to serve as mitigating evidence against a death

sentence.

       The Fifth Circuit has often denied claims such as the one Braziel presents

for lack of prejudice due to the double-edged nature of evidence presented.7 See

also Miniel v. Cockrell, 339 F.3d 331, 346-48 (5th Cir. 2003)(upholding the state

court’s conclusion that the petitioner was not prejudiced by counsel’s failure to


Corps program. 539 U.S. at 516-17.
       7
            See Ransom v. Johnson, 126 F.3d 716, 721 (5th Cir. 1997) (holding that Ransom was not
prejudiced by counsel’s failure to present any evidence at the punishment phase even though counsel
could have presented evidence that “during his childhood Ransom was regularly subjected to
physical, emotional, and possibly sexual abuse at the hands of his mother and older siblings; he was
shuttled between his mother and a foster parent [and he] had positive traits to which his former foster
mother could have testified); see also Cockrum v. Johnson, 119 F.3d 297, 301, 303-04 (5th Cir.
1997) (holding that undiscovered and un-presented evidence of an alcoholic abusive father, a long
history of hospitalization, persons who thought highly of the defendant, a history of severe drug
abuse and addiction beginning at age nine or ten, several suicide attempts, several psychotic
episodes, and expert diagnoses of post-traumatic stress disorder, antisocial personality disorder, poly-
substance abuse, and dysthemia were “at least as consistent with the theory that Cockrum is entirely
responsible for his own deep-seated destructive tendency as with the theory that he is at least
partially a victim of abuse and tragedy” and because there was substantial other aggravating evidence
that would have been elicited if this strategy had been chosen, no reasonable probability existed that
there would have been a different outcome, had the proposed strategy been chosen).

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investigate and present evidence of abuse and neglect during his childhood);

Ladd v. Cockrell, No. 01-41477 (5th Cir. 2002) (failure to present evidence of

troubled childhood, mental retardation diagnosis as a child, low IQ test score,

being put on a psychomotor inhibitor, and good behavior in institutional settings

not prejudicial because some of the evidence was double edged, and the rest had

only “minimal[]” mitigating value; also, evidence of petitioner’s future

dangerousness was overwhelming); Johnson, 306 F.3d at 253 (counsel not

ineffective for failing to present evidence of alleged brain injury, abusive

childhood, and drug and alcohol problems because evidence is “double-edged”);

Kitchens v. Johnson, 190 F.3d at 702-03 (finding counsel’s decision not to

investigate mitigating evidence of child abuse, alcoholism, and mental illness

was sound strategy where evidence was “double-edged” in nature); Williams v.

Cain, 125 F.3d 269, 278 (5th Cir. 1997) (evidence of a defendant’s abuse-filled,

violent upbringing and abuse of drugs and alcohol frequently can be “double-

edged”).

      Finally, when the missing evidence is weighed against the aggravating

evidence presented at trial, it is clear that Braziel was not prejudiced from any

alleged deficiencies in counsels’ investigation into mitigating circumstances. See

Strickland, 466 U.S. at 698 (finding no prejudice due to State’s overwhelming

evidence on aggravating factors supporting the death penalty); Jones, 171 F.3d

at 277 (finding no prejudice due to brutal facts of murder); Sharp v. Johnson, 107

F.3d 282, 287(5th Cir. 1997) (same); Russell v. Lynaugh, 892 F.2d 1205, 1213

(5th Cir. 1989) (finding no ineffective assistance “[g]iven the weakness of such

testimony when juxtaposed with the overwhelming evidence of guilt, the

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horrifying nature of the crime, and the abundant impeachment material

available to the State”).

      The facts of the crime of which Braziel was convicted are particularly cold

and brutal: ten days after their honeymoon, Braziel confronted Doug and Lora

White as they were out for an evening walk, and demanded money. 30 RR 31-

79. Although the couple had no money on them, Braziel ordered the couple to

the ground, and then shot Doug in the head as he and Lora prayed out loud.

Braziel Braziel callously asked “Where is your God at now?” then shot Doug

again in the chest as he pulled Doug off of the ground with one arm. He then

forced Lora into some bushes where he raped her at gunpoint as she continued

to pray out loud. Braziel told her that he shot Doug because “he deserved it” but

that she “did real good” so he would let her live. Id.

      In addition to the heinous nature of the crime, the State presented

evidence of Braziel’s escalating pattern of disrespect for the law and propensity

for violence at the punishment phase. The jury that Braziel had been placed on

probation for the sexual assault of a fifteen-year-old schoolgirl but was sentenced

to five years after he failed to abide by the terms of his probation.     Braziel’s

probation officer, Courtney Pearce, testified that Braziel told her that the victim

“deserved” what he did to her, which is exactly what he told Lora White after

killing her husband. 30 RR 58; 33 RR 53. Pearce also testified that Braziel

failed to abide by the terms of his probation, was a high risk to re-offend, and

was “extremely angry” most of the time. 33 RR 52-54.

      The jury also heard evidence concerning Braziel’s July 1995 aggravated

assault and robbery where he shot a man in his driveway while he was getting

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ready to go to work one morning. Braziel approached Stewart Atnip as he was

getting into his car, put a gun to Atnip’s head, and ordered him to get out of his

car. Braziel then shot Atnip in the buttocks as he was trying to flee from the car,

leaving one of Atnip’s legs completely numb for the next six months. 33 RR 35-

42. The mother of Braziel’s child testified that Braziel admitted to robbing a

man to get his car, and the car was eventually found at Braziel’s mother’s house

after police executed a search warrant in connection with the instant offense.

33 RR 25-34, 43-49.

      In addition, the jury heard evidence that Braziel successfully avoided

apprehension on the above offense for approximately five years and the instant

offense for approximately seven years, and had previously been convicted of

evading arrest in 1994. 33 RR 23; SX 116. Officer Wendell Jones testified that

he tried to pull Braziel over for failing to use a turn signal, but Braziel led Jones

on a high-speed pursuit through a residential neighborhood, at times driving

through people’s yards. Before finally giving up and pulling over, Braziel ran a

stop sign on a busy thoroughfare, hit a median, and drove down the wrong side

of the street. Id.

      In Wiggins, the Supreme Court found it noteworthy that Wiggins had very

few if any aggravating factors, noting that “Wiggins does not have a record of

violent conduct that could have been introduced by the State to offset this

powerful mitigating narrative.”        Wiggins, 539 U.S. at 537.         As clearly

demonstrated above, however, Braziel’s was not a case where the State’s

evidence in support of the death penalty was “far weaker” than the mitigating

evidence. Id. at 538. As such, any evidence counsel may have discovered likely

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would not have induced the jury to vote for a life sentence. Where the evidence

of future dangerousness is overwhelming, it is virtually impossible to establish

Strickland prejudice.    Ladd v. Cockrell, 311 F.3d 349, 360 (5th Cir. 2002).

Braziel cannot, therefore, demonstrate that relief on this claim would be

warranted even if counsels’ performance could somehow be considered deficient.

Ramirez, 398 F.3d at 697 (reiterating that both prongs of the Strickland test

must be satisfied in order to be entitled to relief).

II.   The Testimony of Courtney Pearce, Braziel’s Former Probation Officer,
      Did Not Violate Braziel’s Due Process Rights (Claim 2).

      In Napue v. Illinois, 360 U.S. 264 (1959), the Supreme Court held that a

criminal defendant is denied due process when the State knowingly uses

perjured testimony or allows false testimony to go uncorrected at trial. See also

Giglio v. United States, 405 U.S. 150 (1972). A petitioner seeking to obtain relief

on such a claim must show that (1) the testimony is false, (2) the State knew

that the testimony was false, and (3) the testimony was material. Kutzner v.

Johnson, 242 F.3d 605, 609 (5th Cir. 2001); Pyles v. Johnson, 136 F.3d 986, 996

(5th Cir. 1998).

      In his second claim for relief, Braziel asserts that the State knowingly

created the false impression that he had previously committed aggravated

sexual assault when, in fact, he had only been convicted of sexual assault of a

child. Petition at 22-26. Specifically, Braziel contends that the State’s witness,

Courtney Pearce—Braziel’s probation officer on his 1996 sexual assault offense

until Braziel violated the terms of probation—falsely testified that he used a gun

to rape fifteen-year-old Tewania Taylor and that he was on probation for


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aggravated sexual assault. Id. According to Braziel, the State not only knew

that the testimony was false, but intentionally allowed it to go uncorrected in

order to leave the jury with the impression that he again used a weapon to

sexually assault someone subsequent to the instant offense. Id.

      At the punishment phase of trial, the State called Pearce to testify

regarding her interaction with Braziel while he was on probation. 33 RR 50-56.

Pearce testified that Braziel had mentioned to her that he had raped a girl, and

also admitted that he used a gun to do so. 33 RR 52-53. Later, on cross-

examination, defense counsel elicited the following:

      COUNSEL:          Ms. Pearce, was Mr. Braziel on probation for
                        sexual assault or aggravated sexual assault?

      PEARCE:           He was on probation for aggravated sexual
                        assault.

      COUNSEL:          He was?

      PEARCE:           I think so.

      COUNSEL:          Would you look and—and check that out, please?

      [Brief pause in proceedings while the witness examined a document.]

      PEARCE:           In my notes, I don’t have specifically what the tab
                        charge is; that is, what the actual charge sheet
                        would have on it. But on his offense report, it
                        stated that he sexually assaulted a fifteen-year-
                        old at gunpoint.

33 RR 54-55.

      Braziel argues that the prosecutor knew that the testimony Pearce gave

concerning the use of a gun was incorrect, and that he was denied a fair trial by


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State’s failure to correct the assertion. Petition at 22-26. The Court of Criminal

Appeals rejected this exact same allegation, however, when Braziel raised it

during his state habeas proceedings. SHCR 27-35, 470-95; Per Curiam Order

dated August 19, 2009. Because Braziel fails to demonstrate that the state

court’s adjudication of this claim was either contrary to, or an unreasonable

application of, clearly established federal law, relief should be denied.

      A.    To start, Pearce’s testimony was not false.

      Braziel contends that Pearce testified falsely when she asserted on direct

examination that Braziel admitted to her that he used a weapon when he

sexually assaulted Ms. Taylor. Citing a “prosecution report” contained within

Pearce’s probation file, Braziel seems to insinuate that Pearce knew there was

no weapon involved but lied anyway at the behest of the prosecutor. Petition at

23-24. What Braziel misunderstands, however, is that Pearce was not testifying

concerning her actual knowledge of what happened, but rather only to what

Braziel confessed to her during conversations they had while she was his

probation officer. As such, the content of any offense report or probation file is

irrelevant to what Braziel admitted to Pearce during their conversations.

      Further, Braziel misrepresents the contents of the probation file.

Although parts of the probation file fail to mention a weapon or threat of a

weapon, additional entries by Pearce in her type-written notes corroborate her

testimony. For instance, on June 3, 1996, Pearce wrote “He was questioned

about having sex with a stranger (someone who know less than 24 hours). He

did force sex on a 15 year old girl while he held her at gunpoint.” SHCR 107.

The next day, Pearce wrote, “He is hesitate for [sic] taking full responsibility for

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raping a 15 year old girl, by explaining that she ‘flirted with’ him and she also

wore a very short skirt at the time of the offense. Note: P did hold her at

gunpoint while he raped her.” Id. On July 1, 1996, Pearce stated that she

“Spoke with P about his offense and the fact that the offense report indicates

that he clearly forced a girl at gunpoint to have sex with him.” SHCR 110.

Pearce’s notes regarding specific discussions she had with Braziel clearly

indicate that her testimony concerning these conversations was not false.

      On cross-examination, in response to defense counsel’s question as to

whether Braziel had been convicted of sexual assault or aggravated sexual

assault, Pearce testified that she did not know what he was specifically charged

with, but that his offense report indicated that he “sexually assaulted a fifteen-

year-old at gunpoint.” 33 RR 55. Braziel contends that this, too, is a false

statement since the supplemental police report shows that the charges were for

sexual performance with a child and sexual assault, not aggravated sexual

assault. Petition at 24-25. But Braziel overlooks the fact that the original

incident report did state that Braziel abducted and then sexually assaulted a

fifteen-year-old at gunpoint. SHCR 284. Moreover, both the first and second

supplemental police reports listed the “Offense/Incident” as aggravated sexual

assault, and the second supplement continues to list an automatic handgun

under “Weapon Description.” SHCR 287-92. Thus, because there is no evidence

that Pearce testified falsely either during direct examination or on cross-

examination, Braziel’s allegation must fail. See Koch, 907 F.2d at 531(holding

that “bare allegations” of false testimony do not establish a due process

violation).

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      B.    There is no evidence that the State either knowingly used perjured
            testimony or allowed false testimony to go uncorrected.

      Braziel argues that once the prosecutor heard Pearce’s testimony on direct

examination that Braziel admitted to her that he used a weapon during the

sexual assault, he “had reason to know” that her answer was false and that he

had a “responsibility to correct it.” Petition at 24-26. As discussed above,

however, there is no evidence indicating that Pearce’s testimony concerning

what Braziel confessed to her was untrue. As a result, Pearce was free to testify

(without correction) as to what Braziel told her had actually occurred regardless

of whether or not Braziel was actually charged with aggravated sexual assault.

      Furthermore, despite Braziel’s assertions to the contrary, the State

possessed evidence that supported the notion that Braziel may have used or

exhibited a weapon during the sexual assault. The lead prosecutor in the case,

George West, interviewed Ms. Taylor prior to trial and his notes reflect that

Taylor referred to a gun in that interview.      SHCR 232.      At the top of the

prosecutor’s notes it says “D had black gun, Blk & Silver.” Three paragraphs

down he wrote, “Little handgun on coffee table.” Prior to trial, the State had also

subpoenaed Braziel’s records from the ADAPT Behavioral Healthcare Sex

Offender Evaluation and Treatment Program that he had attended as a

condition of his probation.    SHCR 243-82.     During one of the sex-offender

counseling sessions, when asked how his victim might describe the incident,

Braziel responded “that she would say, ‘that I had a gun and forced her to have

sex with me.’” SHCR 280. Additionally, once Braziel was developed as a suspect

in the instant case, lead detective Mike Bradshaw spent in hour interviewing


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Ms. Taylor in order to learn as much about Braziel as possible before

interviewing him. In an affidavit submitted to the state habeas court, Bradshaw

stated that Ms. Taylor told him that she “saw the butt of a gun on top of the

dresser in the bedroom, and that it scared her.” SHCR 240.

         All of this evidence in the hands of the prosecution indicated that while he

was only charged and convicted of sexual assault, Braziel exhibited a firearm

while he perpetrated the offense. This only served to corroborate the testimony

given by Pearce, thus alleviating the need for any “correction” on behalf of the

State.     Indeed, simply because Braziel was not charged or convicted of

aggravated sexual assault does not mean that the prosecution could not present

evidence that he used or exhibited a weapon during the offense if such evidence

existed. Such evidence simply countered the false impression fostered by the

defense’s arguments that Braziel was convicted of statutory rape only because

the victim was underage rather than forcible rape. See 32 RR 100 (“[Braziel]

told you he plead guilty to that statutory rape”); 34 RR 59 (“[T]here was no—no

aggravating factors there, no force, no gun . . . He was twenty; the victim was

fifteen, fifteen being under-age”); 34 RR 61 (“we’ve got a—basically, a statutory

rape.”).

         Regardless, although the State was under no obligation to correct Pearce’s

testimony concerning her conversations with Braziel, the record already

reflected that Braziel had been convicted only of sexual assault because the

State had previously introduced into evidence Braziel’s pen packet from the

offense prior to Pearce taking the stand. 33 RR 23; SX 113. The pen packet

contained, among other things, the indictment charging sexual assault (with no

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deadly weapon allegations) and the judgment showing that Braziel pled guilty

to the charge. When introducing the packet, the prosecutor specifically stated,

“Alvin Braziel, Junior, was convicted of the offense of sexual assault of a child

for which he ultimately received five years in the penitentiary.” 33 RR 23.

Likewise, at the guilt/innocence phase Braziel was asked on cross-examination

to confirm that he had been imprisoned on charges of sexual assault, and there

was no mention of the offense being aggravated. 32 RR 42. Finally, defense

counsel cleared up any potential misunderstanding by calling Braziel’s trial

attorney in the sexual assault case, Matt Fry, who testified concerning the

difference between aggravated sexual assault and sexual assault. 34 RR 22-24.

Fry clarified that Braziel was convicted only of sexual assault, as he was not

charged with using a deadly weapon. Id.

      As demonstrated above, the State was under no obligation to correct any

potentially misleading testimony as the record clearly indicated both before and

after Pearce’s testimony that Braziel was not convicted of aggravated sexual

assault. Because Braziel wholly fails to demonstrate that the State knowingly

presented perjured testimony or allowed false testimony to go uncorrected, his

claim must fail.

      C.    In any event, Braziel fails to show that Pearce’s testimony was
            material to the jury’s verdict.

      Assuming for the sake of argument that the State did fail to correct false

testimony as Braziel asserts, his claim for relief still fails because the evidence

in question was not material to the jury’s verdict. Material evidence is only that




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evidence creating a reasonable likelihood that it could have affected the verdict.8

Giglio, 405 U.S. at 150. Braziel fails to provide any evidence that the outcome

of his punishment phase would have been different absent to challenged portions

of Pearce’s testimony.

      Initially, it is unlikely Pearce’s testimony concerning Braziel’s confession

that he used a gun affected the jury’s eventual finding of future dangerousness

given the fact that there was plenty of evidence before the jury indicating that

he was convicted only of sexual assault. As discussed in the preceding section,

the actual indictment and judgment showing Braziel’s conviction for sexual

assault was already before the jury, as was Braziel’s testimony confirming such

information.    32 RR 42; 33 RR 23; SX 113.          Defense counsel also directly

contradicted Pearce’s testimony at the punishment phase by calling Braziel’s

trial attorney in the sexual assault case to testify about the difference between

aggravated sexual assault and sexual assault and how Braziel was only charged

with the later. 34 RR 22-24. This testimony allowed defense counsel at closing

arguments to cast doubt in the juror’s minds of the accuracy of Pearce’s

testimony by asking, “What else is wrong with her report?” Because Pearce’s


      8
           The Giglio materiality standard—which embraces the harmless error rule
of Chapman v. California, 386 U.S. 18 (1967)—was arguably abrogated by the Supreme
Court’s opinion in Brecht v. Abrahamson, 507 U.S. 619, 637-38 (1993). See Barrientes,
221 F.3d at 756-57(assuming Brecht harmless error standard applies to Giglio claims
raised in federal habeas proceedings) (citing Gilday v. Callahan, 59 F.3d 257, 268 (1st
Cir. 1995)). Because this is a postconviction proceeding, the Director no longer bears
the onus of proving harmlessness of trial error under Chapman; rather, it is Braziel
who must prove harm. At a minimum, such a showing would require proof of
materiality under United States v. Bagley, i.e., a reasonable probability that, but for
the false testimony, the result of the proceeding would have been different. 473 U.S.
677, 682 (1985). Braziel fails to make such a showing.

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testimony that Braziel admitted to using a gun was rebutted by other evidence

presented at trial, it cannot be assumed that the jury gave much, if any, weight

to this specific testimony.

      Moreover, to the extent that the jury believed this portion of Pearce’s

testimony, Braziel still cannot demonstrate that the results of the punishment

phase would have been different without it. To start, the jury heard multiple

references to Braziel’s conviction for the sexual assault of a child, even though

no aggravating factor was ever charged. The jury heard that he was initially

placed on probation for the sexual assault but was sentenced to five years after

he failed to abide by the terms of his probation. Aside from the testimony

concerning Braziel’s admitting he used a gun, Pearce provided other

unimpeached testimony that the jury could have considered in deliberating

Braziel’s future dangerousness. She testified that Braziel told her that Ms.

Taylor “deserved” what he did to her, which is exactly what he told Lora White

after killing her husband. 30 RR 58; 33 RR 53. Pearce also testified that Braziel

failed to abide by the terms of his probation, was a high risk to re-offend, and

was “extremely angry” most of the time. 33 RR 52-54.

      Further, the jury also heard damaging evidence concerning Braziel’s July

1995 aggravated assault and robbery of Stuart Atnip where Braziel shot Atnip

after he attempted to flee. Braziel approached Atnip early in the morning as

Atnip was leaving to go to work, put a gun to Atnip’s head, and ordered him to

get out of his car. Braziel then changed his mind and ordered Atnip to drive, but

as Braziel tried to enter the backseat Atnip fled the vehicle. Braziel shot Atnip

in the buttocks, leaving one of his legs completely numb for the next six months

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and Atnip in extreme pain for the following six years. 33 RR 35-42. The mother

of Braziel’s child testified that Braziel admitted to robbing a man to get his car,

and the car was eventually found at Braziel’s mother’s house after police

executed a search warrant in connection with the instant offense. 33 RR 25-34,

43-49.

      In addition to knowing that Braziel avoided apprehension on the above

offense for approximately five years and the instant offense for approximately

seven years, the jury also heard evidence that Braziel had been convicted of

evading arrest in 1994. 33 RR 23; SX 116. When Officer Wendell Jones tried to

pull Braziel over for failing to use a turn signal, Braziel led Jones on a high-

speed pursuit through a residential neighborhood, where at times he drove

through people’s yards. Before finally giving up and pulling over, Braziel ran a

stop sign on a busy thoroughfare, hit a median, and drove down the wrong side

of the street. Id.

      Finally, the facts concerning the instant crime are so particularly cold and

brutal that they alone would support an affirmative answer to the future

dangerousness special issue. See Statement of Facts, supra. Lora White’s

chilling testimony at the guilt/innocence phase described in great detail the

events that unfolded after the newly-married couple went for an evening walk.

30 RR 31-79. After demanding money from the couple and ordering them to the

ground, Braziel shot Doug White in the head as he and Lora prayed out loud,

then shot him again in the chest after he lifted Doug up off of the ground.

Braziel callously asked Doug “Where is your God at now?” right before he shot

him. He then forced Lora into some bushes where he raped her at gunpoint as

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she continued to pray out loud. After he was done, Braziel told her that he shot

Doug because “he deserved it” but that she “did real good” so he would let her

live. Id.

       Given the horrendous nature of this senseless crime, along with the

plethora of other evidence demonstrating his future dangerousness, Braziel

simply cannot show that Pearce’s allegedly false testimony somehow created “a

reasonable likelihood that it could have affected the verdict.” See Giglio, supra.

Because this evidence is not material, therefore, relief should be denied.

III.   The State Did Not Withhold Exculpatory Evidence From the Defense in
       Violation of Braziel’s Due Process Rights (Cl.

       In relation to his previous allegation, Braziel next claims that the State

suppressed evidence that demonstrated no weapon was used during the sexual

assault of Tewania Taylor in violation of Brady v. Maryland, 373 U.S. 83 (1963).

Petition at 26-31. In particular, Braziel asserts that the state failed to disclose

the supplemental police reports wherein Ms. Taylor recanted the allegation that

Braziel had used or exhibited a weapon during the commission of the sexual

assault. Had this evidence been available, Braziel seems to argue, the defense

would have been able to more effectively rebut the testimony given by Braziel’s

former probation officer, Courtney Pearce, concerning Braziel’s admission to her

that he used a weapon during the offense. Id. However, this allegation was

rejected by the Court of Criminal Appeals when Braziel raised it during his state

habeas proceedings. SHCR 35-40, 496-513; Per Curiam Order dated August 19,

2009. Because Braziel fails to demonstrate that the state court’s adjudication

of this claim was either contrary to, or an unreasonable application of, clearly


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established federal law, relief should be denied.

      In Brady, the Supreme Court announced that due process requires the

State to disclose material, exculpatory evidence to the defense. 373 U.S. at 87.

In order to establish a Fourteenth Amendment violation under Brady, the

petitioner must demonstrate that (1) the prosecution suppressed evidence; (2)

that was favorable to the defense; (3) material to either guilt or punishment.

Banks v. Dretke, 540 U.S. 668, 691 (2004); Graves v. Cockrell, 351 F.3d 143, 153-

54 (5th Cir. 2003). As discussed below, Braziel completely fails to establish that

the evidence he refers to satisfies any of the criteria necessary to demonstrate

a violation of Brady.

      A.    Braziel has not established that the evidence at issue here was
            actually suppressed.

      Braziel accuses the State of failing to disclose the supplemental police

report that “clearly indicated that no weapon had been used in the offense

against Taylor.” Petition at 29. The record clearly indicates, however, that both

the prosecution and the Mesquite Police Department made their files on this

case available to defense counsel. 30 RR 6. Specifically, at the conclusion of a

motion to suppress hearing, the following dialogue occurred:

      THE COURT:         Well, I’m just going to tell you what you need to
                         do. You need to, Detective [Bradshaw], bring
                         your entire file, every scrap of paper that relates
                         to this case. You need to have it—how long does
                         it take you to get to the office and back?

      BRADSHAW:          Less than half an hour.

      THE COURT:         Okay. You need to have that here by 1:00 o’clock
                         this afternoon and provide it all to [the

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                         prosecutor]. And I don’t want to hear about one
                         thing that you haven’t gone through and that
                         hasn’t been reviewed before we start trial on
                         Monday. And anything that they’re entitled to
                         see they need to see it did [sic].

                                      ***

      THE COURT:         Okay. So Bradshaw is going to be back at 1:00
                         o’clock with everything, everything that relates to
                         this case. And you’re going to provide that to the
                         defense, if not sooner, by then at least.

      THE STATE:         [Defense counsel] and I are going up as soon as
                         we leave here, Your Honor, to look at all the stuff
                         that I have now; and anything that comes in he’s
                         going to have an opportunity to see.

29 RR 26, 83. A few days later at the opening of trial, the following dialogue

occurred outside the presence of the jury:

      THE STATE:         Your Honor, I just want the record to reflect that
                         pursuant to the last hearing, the defense
                         attorneys have had an opportunity to review the
                         records of the police department as well as the
                         files of the district attorney’s office?

      DEFENSE:           That’s correct.

      THE COURT:         Okay.

30 RR 6.

      Additionally, Detective Bradshaw stated in his affidavit submitted during

the state habeas proceedings that he obtained a copy of the Dallas Police

Department offense reports associated with Braziel’s 1996 sexual assault

conviction and kept a copy of the reports in his investigative files. SHCR 240-41.



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Bradshaw explained that, pursuant to the trial judge’s order, he brought over his

entire investigative file in the case—four boxes total—for defense counsel to

inspect, and that the supplemental report from the sexual assault case was in

there. Id. Although Braziel’s defense counsel, Richard Franklin, also submitted

an affidavit stating that he specifically requested the police reports but that the

prosecution “never furnished them to me,” Franklin does not dispute the fact

that he had the opportunity to look for them himself when he examined the

State’s files. SHCR 151-52. Indeed, Franklin never alleges that he was unaware

of the supplemental reports or that he looked for them in the file but never found

them. Id. As a result, Braziel fails to provide any evidence to prove that the

State actually withheld any evidence in this case.

      Further, the Fifth Circuit has held that “evidence is not suppressed if the

defendant knows or should know of the essential facts that would enable him to

take advantage of it.” United States v. Runyan, 290 F3d 223, 246 (5th Cir.

2002). That is, Brady does not obligate the State to supply the defense with

exculpatory evidence that is fully available to the defendant through the exercise

of reasonable diligence. Kutzner v. Cockrell, 303 F.3d 333 (5th Cir. 2002). Here,

Franklin’s affidavit demonstrates that the defense knew before trial both that

the State was going to introduce some evidence concerning the sexual assault at

the punishment phase, and that there were conflicting stories as to whether a

gun was used during the offense. Specifically, Franklin states:

      . . . I was advised by Assistant District Attorney George West that
      the State would offer that [sexual assault] conviction, and its
      underlying facts, as evidence in the punishment phase of the trial.



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                                       ***

      I advised Mr. West that Mr. Braziel and Mr. Fry stated that no gun
      was used in the commission of the sexual assault case but Mr. West
      assured me that [Ms. Taylor] was going to testify that a gun was
      used, and I believed him.

SHCR 151.

      Defense counsel was clearly aware that the State planned to introduce

evidence that Braziel had used a gun, and was on notice that he needed to

review the file to discover the police reports of the incident. Indeed, counsel did

not need the police reports in order to know that there was ambiguity regarding

whether a gun was actually used in Ms. Taylor’s sexual assault or not. Thus,

because defense counsel already knew of the discrepancy in stories concerning

the use of a gun, Braziel cannot now claim that such evidence was suppressed

by the State. See United States v. Agurs, 427 U.S. 97, 103 (1976)(holding that

Brady allegations involve “the discovery, after trial, of information which had

been known to the prosecution but unknown to the defense.”).

      B.    The allegedly suppressed evidence was neither favorable nor
            material to Braziel’s defense at trial.

      Pursuant to Brady, it is clear that a violation of due process occurs where

the State suppresses impeachment evidence that is favorable to the defense. 373

U.S. at 87; Strickler v. Green, 527 U.S. 263 (1999); United States v. Bagley, 473

U.S. 667, 676 (1985).     Favorable evidence is any evidence, exculpatory or

impeachment, that “if disclosed and used effectively, [] may make the difference

between conviction and acquittal.” Bagley, 473 U.S. at 676. Braziel contends

that the evidence contained the police reports would have been favorable


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impeachment evidence that could have been used to rebut Pearce’s testimony

concerning Braziel’s admission to using a gun during his sexual assault of Ms.

Taylor. Petition at 28.

      Yet it is unclear how the police reports could be considered impeachment

evidence, as Pearce did not testify to the facts of the sexual assault. Rather,

Pearce’s testimony centered around her relationship with Braziel as a probation

officer—statements he made to her, his attitude while on probation, and whether

he generally was a good probationer (he was not). 33 RR 50-56. As such, the

contents of a supplemental police report detailing the offense have no bearing on

statements that Braziel made personally to Pearce during his probation period,

and are thus not favorable impeachment evidence that could have been used to

disprove her testimony. Indeed, it is debatable whether the police reports can

even be considered favorable at all in this context given that both the first and

second supplemental police reports listed the “Offense/Incident” as aggravated

sexual assault, and the second supplement continues to list an automatic

handgun under “Weapon Description.” SHCR 287-92.

      Consequently, because the allegedly suppressed information was

irrelevant to Pearce’s testimony and could not be used to impeach her testimony

concerning Braziel’s in-person admissions to her, Braziel fails to show that this

evidence was actually “favorable” to his defense, and relief is not warranted on

the instant claim. See East v. Johnson, 123 F.3d 235, 237 (5th Cir. 1997)

(holding that to obtain relief on a Brady claim, a habeas petitioner must

demonstrate that the prosecution suppressed evidence that was favorable to the

defense and material to guilt or punishment).

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      Moreover, Braziel fails to demonstrate that the evidence in question was

material.   Under Brady, evidence is material “only where there exists a

‘reasonable probability’ that, had the evidence been disclosed, the result at the

trial would be different.” Bagley, 473 U.S. at 682. A “reasonable probability” is

one sufficient to undermine confidence in the outcome. Id.; Kyles v. Whitley, 506

U.S. 419, 437 (1995). Braziel contends that the defense could have used the

information in the police reports to impeach Pearce’s credibility and weaken the

State’s argument that he was a violent serial rapist. Petition at 29. But Braziel

fails to demonstrate how the police reports would help the defense achieve either

of these objections.

      First, the defense having knowledge of the supplemental reports would not

have prevented the State from demonstrating that Braziel was violent rapist and

continuing threat to society. Whether or not he used a gun when he forcibly

raped a fifteen-year-old girl does not change the fact that the jury knew

unequivocally that Braziel was at the very least a two-time rapist. Braziel could

have asserted dominance or control over Ms. Taylor without the gun simply by

being bigger, stronger, older, and verbally threatening to her. The fact that he

asserted his dominance and control over at least two females in three

years—including a fifteen-year-old school girl whom he raped and later

exclaimed “deserved it”—makes him a future danger regardless of whether he

used or exhibited a gun. Possession of the supplemental police reports would not

have changed any of this evidence, and would not have allowed the defense to

establish that the rape of Ms. Taylor was not forcible.



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      Further, there is no evidence that the police reports would have aided

defense counsel in impeaching Pearce’s testimony anymore than they already

did. As discussed in the previous section, the police reports would have little

impeachment value because Pearce was not testifying concerning her actual

knowledge of what happened, but rather only to what Braziel confessed to her

during conversations they had while she was his probation officer. To whatever

extent Pearce’s testimony on cross-examination that Braziel was on probation

for aggravated sexual assault needed to be clarified, defense counsel was able to

do so without the police reports through the presentation of Braziel’s trial

attorney for the sexual assault conviction. Thus, because defense counsel did not

need the reports to impeach Pearce’s testimony on cross-examination, it cannot

be deemed material to the punishment phase. Bagley, 473 U.S. at 682.

      Finally, given the chilling nature of the instant offense, along with the

overwhelming evidence presented by the State of Braziel’s propensity for

violence, there is simply no reasonable probability that the results of the

punishment phase would have been different had defense counsel specifically

been provided the supplemental police reports. As discussed in more detail in

Section II, supra, the jury heard testimony from Lora White about the heinous

crime committed against a young, newly-married couple who had their whole

lives before them. Whether or not Braziel used a gun in sexually assaulting Ms.

Taylor, the State provided evidence that he fired a gun in two other instances,

killing one person and injuring another. The State also demonstrated that

Braziel feels entitled to rob people of the their possessions, and to rape and

murder strangers because he believes “they deserve[d] it.” Through Pearce’s

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testimony, the State showed that Braziel is a manipulative, unremorseful,

violent person who seeks dominance and control and who is unwilling (or unable)

to be restrained by supervision. There is, therefore, no reasonable probability

that “the result at the trial would be different” had defense counsel been able to

utilize the evidence in question. Bagley, 473 U.S. at 682. As such, it is not

material.

      In failing to demonstrate that the information at issue was either

suppressed, favorable or material to his defense, Braziel has fallen woefully

short of proving that the State had a duty to disclose such evidence or that the

suppression of this evidence violated his due process rights.         Accordingly,

Braziel’s Brady allegation is meritless and should be denied

IV.   Braziel Has Failed to Demonstrate that He Is Mentally Retarded.

      In his next claim for relief, Braziel asserts that he is mentally retarded

and, therefore, his death sentence violates the prohibition against the imposition

of death sentences against the mentally retarded as set out in Atkins v. Virginia.

Petition at 31-37. Relying solely on the unexhausted hearsay affidavit from his

investigator and an IQ score of 75 obtained from the Texas Department of

Criminal Justice (TDCJ), Braziel boldly contends that “credible evidence” exists

supporting his claim of mild mental retardation. Id. at 35-36. But he fails

entirely to explain how the state court’s conclusion that he “failed to sustain his

burden of proving his mental retardation claim” could be considered an

unreasonable application of Atkins. SHCR at 525.         B ra ziel d oe s corre ctly

point out that the Supreme Court in Atkins announced that the execution of

mentally retarded criminals constitutes cruel and unusual punishment in

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violation of the Eighth Amendment. 536 U.S. at 321. However, the Court also

held that “[n]ot all people who claim to be mentally retarded will be so impaired

as to fall within the range of mentally retarded offenders about who there is a

national consensus.” Id. at 317. The Court cited with approval the American

Association on Mental Retardation (AAMR) and American Psychological

Association (APA) definitions of mental retardation, which require (1)

significantly subaverage general intellectual functioning; (2) concurrent

significant limitations in adaptive functioning; and (3) ) the existence of these

limitations and deficits prior to the age of eighteen.9 Id. at 309 n. 3 (internal


      9
           Although the Supreme Court left “to the State[s] the task of developing
appropriate ways to enforce the constitutional restriction upon its execution of
sentences,” it cited with approval the following definitions of mental retardation:

      The [AAMR] defines mental retardation as follows: “Mental retardation
      refers to substantial limitations in present functioning.            It is
      characterized by significantly subaverage intellectual functioning,
      existing concurrently with related limitations in two or more of the
      following applicable adaptive skill areas: communication, self-care, home
      living, social skills, community use, self-direction, health and safety,
      functional academics, leisure, and work. Mental retardation manifests
      before age 18.”

      The [APA]’s definition is similar: “The essential feature of Mental
      Retardation is significantly subaverage general intellectual functioning
      (Criterion 1) that is accompanied by significant limitations in adaptive
      functioning in at least two of the following skill areas: communication,
      self-care, home living, social/interpersonal skills, use of community
      resources, self-direction, functional academic skills, work, leisure, health,
      and safety (Criterion 2). The onset must occur before age 18 years
      (Criterion 3). Mental Retardation has many different etiologies and may
      be seen as a final common pathway of various pathological processes that
      affect the functioning of the central nervous system.” “Mild” mental
      retardation is typically used to describe people with an IQ level of 50-55
      to approximately 70.

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citations omitted), 317 n. 22.

      Although Texas does not yet have statutory provisions to implement the

Atkins decision, in the interim, the Court of Criminal Appeals has held that it

will follow the AAMR or Texas Health and Safety Code criteria for addressing

Atkins mental retardation claims. Ex parte Briseno, 135 S.W.3d 1, 8 (Tex. Crim.

App. 2004).     State law defines “mental retardation” as “(1) significantly

subaverage general intellectual functioning that is (2) concurrent with deficits

in adaptive behavior and (3) originates during the developmental period.” Tex.

Health & Safety Code § 591.003(13); Howard v. State, 153 S.W.3d 382, 386 n.5

(Tex. Crim. App. 2005) (citing Briseno, 135 S.W.3d at 7). This definition is

“essentially the same” as the one utilized by the AAMR. Howard, 153 S.W.3d at

386; see Ex parte Modden, 147 S.W.3d 293, 296 (Tex. Crim. App. 2004) (AAMR

criteria “adopted” because consistent with definition set out by legislature in

Texas Health & Safety Code Section 591.003(13)).

      As discussed below, Braziel wholly failed to establish any of these

requirements during his state habeas proceedings. As such, he cannot establish

that the state court’s subsequent adjudication of this claim was either contrary

to, or involved an unreasonable application of, Atkins, and his request for federal

habeas relief should be denied.




Atkins, 536 U. S. at 309 n. 3 (internal citations omitted); id. at 317 n. 22. The Fifth
Circuit has cited the above-described definitions in determining that the evidence
offered by a capital petitioner was insufficient to suggest that further development of
his retardation claim had any likelihood of success under the Atkins criteria.


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      A.    Braziel failed to demonstrate that his intellectual functioning is
            significantly subaverage.

      The   DSM-IV     states   that    “[s]ignificantly    subaverage   intellectual

functioning is defined as an IQ of about 70 or below (approximately 2 standard

deviations below the mean).” 10        Incredibly, to support the claim that his

intellectual functioning is significantly subaverage, Braziel relies solely upon the

results of a test, the Beta 2, administered by TDCJ upon Braziel’s initial

entrance into the prison system indicating a full scale IQ of 75. Petition at 35;

SHCR at 46-47, 295-96. As the state court’s findings and conclusion imply,

however, this evidence is not persuasive.

      To start, Braziel has not established that his score of 75 on the Beta 2 was

significantly subaverage. In Texas, for an individual to be considered mentally

retarded his IQ score must be more than two “standard deviations below the age-

group mean for the tests used.” Tex. Health & Safety Code 591.003(13) (defining

mental retardation). To determine the standard deviation for the Beta 2 test,

and thus the significance of Braziel’s score of 75, requires knowledge of the test’s

standard error of measurement and its mean score. But Braziel failed to present

this information either to this Court or the state court below, depriving both

courts of the tools necessary to interpret this Beta 2 score.            However, a

diagnostician with TDCJ interpreted Braziel’s score of 75 as a passing score,




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             APA, Diagnostic and Statistical Manual of Mental Disorders IV-Text
Revision 49 (4th ed. 2000) (DSM-IV-TR). See also American Association on Mental
Deficiency (AAMD), Classification in Mental Retardation 1 (Grossman ed. 1983).

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indicating that a score of 71 or higher on the Beta 2 is a passing score.11 SHCR

at 295. Because this interpretation has not been refuted by Braziel, no evidence

has been presented to demonstrate a significant subaverage intellectual

function.

      Moreover, the Beta 2 test is not a reliable or valid measure of a person’s

intellect because it is not an individually administered exam. When Braziel first

entered prison in 1997 he, along with a group of inmates, was administered the

Beta 2 by TDCJ as part of the classification process to determine if more testing

was necessary. SHCR at 295-96. In group settings such as this, there are

obvious distractions, and the person administering the exam is less likely to

detect a single individual’s poor understanding of instructions, lack of effort, or

depression and anxiety. Consequently, the mental health profession does not

recognize the results of group IQ exams such as the Beta 2 as a valid measure

of intellectual functioning. See DSM-IV at 41 (“General intellectual function is

defined by the intelligence quotient (IQ or IQ-equivalent) obtained by

assessment with one or more of the standardized, individually administered

intelligence tests”)(emphasis added). Likewise, Texas law requires a score from

an individually administered IQ test to classify an individual as mentally

retarded. See 25 Tex. Admin. Code 419.238(a)(1)(A) (2003) (a person must “have

a full intelligence quotient score of 69 or below, obtained my administering an

standardized individual test” to meet eligibility requirements for Texas’s mental

retardation program).

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             As a result, no further testing was done on Braziel to determine if he
belonged in the Mentally Retarded Offender Program. Id.

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      Furthermore, the fact that Braziel failed to present any IQ score of 70 or

below disqualifies him from Atkins protection. While the Fifth Circuit has

recently specified that “mental retardation can be found in range of 70-75,”

Moore v. Quarterman, 342 F. App’x 65, 68 n.5 (5th Cir. 2009) (emphasis added),

the Court has only granted relief on Atkins claims where an inmate presents at

least one base score below 70.12 When all of an inmate’s scores fall above 70, the

Fifth Circuit has consistently denied relief.13 Even when an inmate has scored

below 70, the Fifth Circuit has found no mental retardation if the circumstances

show that the inmate has exaggerated his deficits.14 Because Braziel has not

shown any base score falling within the range eligible for a diagnosis of mental

retardation, he cannot satisfy the first requirement for relief under Atkins.

      Finally, and perhaps most importantly, Braziel has failed to provide any

evidence showing that he ever tested as mentally retarded on any IQ test prior

to reaching the age of eighteen.         The only IQ test cited by Braziel was

administered by TDCJ when Braziel first entered the prison system in 1997 at

the age of twenty-two. SHCR at 295-96. As such, the state habeas court was

correct in finding that Braziel failed to establish that he was mentally retarded.


      12
              See Moore, 342 F. App’x at 68 (finding significantly subaverage
intellectual functioning with IQ scores ranging from 66 to 76); Rivera v. Quarterman,
505 F.3d 349, 361 (5th Cir.2007) (finding mental retardation with scores as low as 66).
      13
              See Pierce v. Thaler, ___ F.3d ___, 2010 WL 1532738, at *13 (5th Cir.
2010) (WAIS-III score of 70); Williams v. Quarterman, 293 F. App’x 298, 310-11 (5th
Cir. 2008) (three different IQ tests scoring a 70 or 71); Eldridge v. Quarterman, 325 F.
App’x 322, 325 (5th Cir. 2009) (scores ranging from 72 to 112).
      14
             See Moreno v. Dretke, 450 F3d 158, 165 (5th Cir. 2006) (post-Atkins score
of 64 with substantial testimony that it underestimated his abilities).

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      B.     Braziel also failed to prove that he has significant limitations in
             adaptive functioning.

      “Impairments in adaptive behavior are defined as significant limitations

in an individual’s effectiveness in meeting the standards of maturation, learning,

personal independence, and/or social responsibility that are expected for his or

her age level and cultural group, as determined by clinical assessment and,

usually, standardized scales.” AAMD at 11. Both the AAMR and APA have also

described the factors in evaluating adaptive functioning. Atkins, 536 U.S. at 309

n.3. For example, the AAMR’s ninth edition text refers to “limitations in two or

more of the following applicable adaptive skill areas: communication, self-care,

home living, social skills, community use, self-direction, health and safety,

functional academics, leisure, and work.” Mental Retardation: Definition,

Classification, and Systems of Supports 5 (9th ed. 1992). The APA guidelines

require “significant limitations in adaptive functioning” in at least two of its list

of similar skill areas. DSM-IV at 42. The AAMR’s tenth edition refers to

“significant limitations ... in adaptive behavior as expressed in conceptual, social,

and practical adaptive skills.” Mental Retardation: Definition, Classification,

and Systems of Supports 1 (10th ed. 2002). As the Court of Criminal Appeals

has explained, adaptive behavior “measures a person’s ability to function

properly in society such as, for example, meeting the needs of day to day life.” Ex

parte Tennard, 960 S.W.2d 57, 61 (Tex. Crim. App. 1997).

        In an attempt to establish significant impairments in adaptive

functioning, Braziel contends that his poor academic performance should be

considered evidence of an “intellectual impairment.” Petition at 35-36. Relying


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almost exclusively upon the unexhausted hearsay affidavit of Amanda Maxwell,

a licensed clinical social worker hired to assist federal habeas counsel in their

investigation, Braziel points out that he spent two years in the first and seventh

grades, that he made mostly failing grades in elementary school, that his

standardized test scores were below average, and that he had dropped out of

school by the ninth grade. Petition at Exhibit 2. According to Braziel, these

“intellectual impairments,” along with an alleged traumatic brain injury he

suffered as a child and the “rootlessness that was a hallmark of his home life and

upbringing,” resulted in his having significant adaptive deficiencies. Petition at

36.   Yet, without explaining what these deficiencies are, Braziel simply

concludes that they “are evidenced by his spotty work history and inability to

conform with the rules of probation.” Id. Regardless of the veracity of these

allegations, however, none of them effectively prove that Braziel has any actual

adaptive behavior deficits.

      First, the fact that Braziel struggled in school and never made it past the

ninth grade does not necessarily signal mental retardation. There are several

viable explanations for why an individual might have problems in school and

eventually drop out, including lack of motivation, behavioral issues, necessity

and personal choice. And the fact that Braziel’s academic performance improved

dramatically while he was incarcerated belie any assertion that his poor

performance in school was the result of an “intellectual deficiency.” Beginning

in 1997, Braziel enrolled in the prison school system, regularly attended classes,

and improved his reading, language and math skills over time. SHCR at 318-27.

He eventually scored well on educational achievement tests, achieving the

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reading and language skills of a senior in high school and the math skills of an

eighth grader. SHCR 332. Braziel even became eligible to take a GED exam

and took it in November 2000, passing each of the exam’s five sections. Id.

Although he fell just three overall points shy of passing the exam, Braziel’s

performance was certainly beyond the capabilities of a person with mental

retardation.

      Further, despite his allegation to the contrary, Braziel’s work history does

not indicate any limitations in adaptive functioning. Braziel held numerous

jobs, often two at a time, and even worked for a while as a licensed security

guard. 33 RR 11-12; 34 RR 27-28; SHCR 334-43. While he was working, Braziel

also obtained a driver’s license and purchased a car. 34 RR 28; SHCR 346, 349.

Braziel also learned a trade while he was imprisoned. SHCR 323, 352-58.

      Even Braziel’s illegal activities evince an aptitude well beyond that of a

mentally retarded person. His culpability for the instant capital murder went

unsolved for over seven years, and the car-jacking and shooting went unsolved

for five years. 31 RR 83-85, 112-14; SX 100, 101. In the instant case, Braziel

evaded detection in part by revealing the crime to no one and by refusing to

supply authorities with a DNA sample. 32 RR 14-15. Braziel’s concealment of

the car-jacking perhaps demonstrates even more foresight and cunning as he

placed the VIN from the car he legally purchased over the VIN plate of the car

he had stolen. 33 RR 29, 43-48.

      Finally, none of those who know Braziel best have ever described him as

a person of limited abilities. In her affidavit to this Court, Braziel’s mother,

Glenda Turner, makes no mention any mental deficiencies Braziel may have had

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other than her lone opinion that he showed symptoms of schizophrenia at times

when he was incarcerated.15 Petition at Exhibit 1. Sandra and Chris Freyer, the

parents of Braziel’s highschool friend, considered Braziel to be a leader and role-

model for their son. 34 RR 13, 31. The mother of his child also described him as

a good father who provided for their child and maintained a job; she made no

mention whatsoever of any deficiency in Braziel’s mental abilities. 33 RR 32-34.

And until this claim was raised during his state habeas proceedings, none of

Braziel’s attorneys had asserted any defense of mental deficiency, including his

trial attorney, Richard Franklin, who submitted an affidavit in support of

Braziel’s state writ application. SHCR 151-52.

      Braziel has failed to provide this Court with any evidence that he suffers

from a significantly subaverage intellect or any deficits in his adaptive behavior.

Quite the contrary, plenty of evidence demonstrates that Braziel is a bright,

cunning man who simply chose a life of violent crime rather than one of

legitimate pursuits and is now trying to avoid the results of his conduct. For

these reasons, Braziel cannot demonstrate that relief is warranted under Atkins.

      C.     Braziel utterly failed to prove onset of limitations prior to age
             eighteen.

      Lastly, Braziel must establish that he exhibited “both significantly



      15
              Although Ms. Turner claims that Braziel was hit on the head with a
wooden stick by her sister once when he was a child, Braziel has provided absolutely
no records to prove that such injury occurred or any explanation as to how such alleged
injury is relevant to a determination of limited adaptive deficits. As such the assertion
is conclusory and of little value. Koch v. Puckett, 907 F.2d at 530 (“Mere conclusory
statements do not raise a constitutional issue in a habeas case.”); Ross, 694 F.2d at
1011(same); Schlang, 691 F.2d at 799.

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subaverage intellectual functioning and concurrent deficits in adaptive behavior”

before the age of eighteen. Atkins, 536 U.S. at 309 n.3; Ex parte Tennard, 960

S.W.2d at 61. Braziel provides no records to show that he was ever diagnosed

as mentally retarded or ever placed in special education classes because of his

alleged retardation. And while it might be possible that he could have slipped

through the cracks for all these years, it is simply not probable. The fact that

Braziel may not have always made good grades or might have been unable to

keep employment for very long does not establish that he is retarded, but is more

likely explained by other factors, such as lack of motivation. Thus, because

Braziel cannot demonstrate that the state habeas court’s conclusion that he

failed to prove his mental retardation was either contrary to or an unreasonable

application of Atkins, and his claim should be dismissed.

V.    The Trial Court Did Not Err In Admitting Lora White’s Pre-Trial
      Photographic Identification (Claim 5).

      Braziel next alleges that his due process rights were violated by the trial

court’s admission of Lora White’s pre-trial photographic identification of Braziel

as the man who raped her and murdered her husband. Petition at 37-40.

Although he provides a two-page summary of the facts surrounding Lora’s

identification, Braziel neither cites any case law nor attempts any explanation

as to what part of the identification process he believes is improper. Instead, he

makes the following one-sentence conclusory assertion: “The constitutional

violations set forth in this claim alone mandate relief from the convictions and

sentence.” Id. at 40.




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          Other than this lone sentence, Braziel has not provided any argument,

evidence, or authority to support his bald assertions. Because Braziel failed to

adequately brief this issue by failing to specifically argue and analyze his

position or provide authorities, his claim is not entitled to relief. Smith v.

Cockrell, 311 F.3d 661, 679 n.12 (5th Cir. 2002)(“Issues not briefed, even if

raised on appeal, are considered waived or abandoned.”) (citation omitted);

Lookingbill v. Cockrell, 293 F.3d 256, 263 (5th Cir. 2002) (“Where a habeas

petitioner fails to brief an argument adequately, we consider it waived.”)

(footnote omitted); Koch v. Puckett, 907 F.2d 524, 530 (5th Cir. 1990) (“Mere

conclusory statements do not raise a constitutional issue in a habeas case.”).

          Regardless, Braziel previously raised this claim on direct appeal, where

the Court of Criminal Appeals ultimately denied relief after finding that the

photo identification “was not impermissibly suggestive.” Braziel v. State, No.

74,139, slip op. at 5. Braziel fails to establish that the state court’s adjudication

of this claim was either contrary to, or involved an unreasonable application of,

clearly established federal law. As a result, he is not entitled to federal habeas

relief.

          A.    Background

          Both Lora White and Sergeant Michael Bradshaw of the Mesquite Police

Department testified at a pre-trial suppression hearing held before the trial

court concerning Lora’s identification. 29 RR 4-76. Lora testified that on the

night of the offense she described the offender to police as a black man between

the ages of eighteen to twenty-four, 5'6" to 5'8" in height, and weighing between

140 to 160 pounds. Id. at 41. That description matched Braziel. Id. at 41, 52.

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An initial composite drawing was made within weeks based on Lora’s

recollection, but Lora was not satisfied that it was an accurate depiction of the

assailant. Id. at 23, 53. A second composite drawing was made in February

1994 which Lora testified accurately resembled Braziel. Id. at 22-23, 41, 53, 75.

Also in 1994, Lora viewed a photographic lineup but did not identify anyone as

the offender. Braziel was not in that lineup. Id. at 4, 8, 54, 70.

          Seven years later in February 2001, Sergeant Bradshaw met Lora at a

restaurant in Terrell and told her they had a suspect based on a DNA match.

Id. at 11-13. Bradshaw testified that he may have told Lora the suspect’s age at

the time of the offense and his current age, but Lora testified that he did not tell

her anything about the suspect except that he was incarcerated. Id. at 13-14, 73-

74. About a week later, Bradshaw showed a six-photo lineup to Lora at his

office.    Id. at 4, 17, 45.   The pictures were all of black males similar in

appearance and approximately the same age. Id. at 5; SX 11. Prior to viewing

the lineup, Bradshaw never told Lora whether or not the suspect they had

discussed the previous week would be in the lineup, or that she should pick out

any particular person. 29 RR 6, 45-48. Lora was also given written instructions

about viewing the lineup, which provided in part that “the person who

committed the crime may or may not be in the group of photographs,” that “it is

equally important to eliminate innocent persons as it is to identify those persons

responsible,” and that “you are in no way obligated to identify anyone.” 29 RR

5, 8, 15; SX 10. After reading and signing the instructions, Lora unequivocally

identified the third photo, Braziel, as the person who raped her and murdered

her husband. 29 RR 7, 18, 46-47.

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      Lora testified that even if she had not been shown the lineup she would be

able to identify Braziel in court based on her close contact with him the night of

the offense. Id. at 48, 55. When Braziel first demanded money from the couple,

he was standing only four steps from her, and there was enough light for her to

see his face. Id. at 48-50. He was not wearing anything over his mouth or eyes.

Id. She also saw Braziel when he shot her husband both times, and when he

walked her over to the bushes nearby. Id. Braziel was also only a few inches

from her face the entire time he sexually assaulted her. Id. Lora testified that

her in-court identification of Braziel at the pre-trial hearing was based solely on

her observations the night of the crime. Since the crime, she had seen Braziel’s

face in her mind over and over again, and she stated that she would never forget

what he looked like. Id. at 55.

      B.    Braziel’s due process rights were not violated by the pre-trial
            photographic lineup.

      In Simmons v. United States, the Supreme Court declared that a

conviction based on an eyewitness identification at trial following a pretrial

identification will be set aside only if the identification procedure was so

impermissibly suggestive as to give rise to a substantial likelihood of

misidentification. 390 U.S. 377, 384 (1968); see also Herrera v. Collins, 904 F.2d

944, 946 (5th Cir. 1990). Thus, the admissibility of identification evidence is

governed by a two-step analysis. First, a determination must be made as to

whether the identification procedure was impermissibly suggestive and

conducive to irreparable mistaken identification. Peters v. Whitley, 942 F.2d

937, 939 (5th Cir. 1991) (citing Stovall v. Denno, 388 U.S. 293, 302 (1967));


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Herrera, 904 F.2d at 946. If the procedures are found to be impermissibly

suggestive, the second inquiry is whether, under the totality of the

circumstances, the suggestiveness led to a substantial likelihood of irreparable

misidentification. Id.

      In this case, the facts adduced during the pretrial hearing demonstrate

that the pre-trial photo lineup shown to Lora White was not impermissibly

suggestive. 29 RR 4-76. All of the men in the six photos shown to Lora were

black men of approximately the same age with similar facial features. Id. at 5,

46; SX 11. Although there were slight variations in skin tone between the six

individuals, neither Bradshaw nor Lora believed that Braziel stood out as

noticeably lighter or darker than the others. 29 RR 10-11, 46-47. Further, Lora

was never told whether or not the suspect they had discussed the previous week

would even be in the photo lineup, and Bradshaw never suggested in any form

who she should pick out. 29 RR 6-7, 45-48. In short, there is nothing in the

record indicating that this lineup violated Braziel’s due process rights.

      Assuming arguendo that the identification procedure could be deemed

impermissibly suggestive, Braziel still has not met his burden of demonstrating

that the procedure gave rise to a substantial likelihood of irreparable

misidentification. An impermissibly suggestive identification procedure does not

violate due process if the identification possesses sufficient aspects of reliability.

Herrera, 904 F.2d at 947 (citing Neil v. Biggers, 409 U.S. 188, 199-200 (1972)).

The Supreme Court has listed several factors to be considered when reviewing

the reliability of a pretrial identification.      These factors include (1) the

opportunity of the witness to view the criminal, (2) the witness’s degree of

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attention, (3) the accuracy of the description, (4) the witness’s level of certainty,

and (5) the elapsed time between the crime and the identification. Id. at 947.

As the state court noted on direct appeal after weighing these factors, the pre-

trial lineup procedures in this case “were not so corruptive as to outweigh the

factors supporting the identification.” Braziel v. State, slip op. at 5-6.

      First, although it was nighttime and there was no direct lighting, Lora

testified that there was plenty of ambient light from a nearby building and the

interstate for her to clearly view Braziel. 29 RR 48-50; 30 RR 36, 78-79. Lora

had ten to twenty minutes—the time it took for Braziel to confront the couple,

shoot Doug White twice, and sexually assault Lora—in which to view Braziel’s

uncovered face at a very close proximity. 29 RR 48-50; 30 RR 43-45, 49-50, 54-

55. In fact, Lora testified that Braziel was within inches of her face during the

sexual assault.   29 RR 50; 30 RR 54-55.        Further, given the intensity and

severity of the circumstances, Lora’s degree of attention was almost certainly

high. The descriptions she gave to police immediately following the crime, along

with even more detailed descriptions given to composite artists at later dates,

were also wholly consistent with Braziel’s physical characteristics. 29 RR 22-23,

41, 53, 75; 30 RR 66, 69. Even though the offense occurred more than seven

years prior to the lineup, Lora unequivocally identified Braziel has her assailant,

and stated that she would never forget what he looked like. 29 RR 7, 18, 46-47,

55; 30 RR 76, 108.

      In sum, it is evident that the state court’s conclusion concerning Lora’s

identification of Braziel being reliable was correct. Lora was never told whether

or not Braziel’s picture was part of the photo lineup, nor was she under any

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influence to identify anyone. Moreover, Lora observed Braziel throughout the

entire episode, gave police an accurate description of Braziel, and was positive

in her identification of Braziel as the man who raped her and murdered her

husband. She even testified that she could have identified Braziel in court even

without having seen the earlier photographic lineup. Thus, the state court

correctly rejected Braziel’s Simmons claim, and federal habeas relief should be

denied.

      C.    Regardless, any error was harmless.

      Even assuming the trial court erred in admitting the pre-trial photo

lineup, Braziel still would not be entitled to relief because the error was

harmless. The Supreme Court has held that the test for harmless error on

federal habeas review is “whether the error ‘had substantial and injurious effect

or influence in determining the jury’s verdict.’” Brecht, 507 U.S. at 637 (quoting

Kotteakos v. United States, 328 U.S. 750, 776 (1946)). “Under this standard,

habeas petitioners may obtain plenary review of their constitutional claims, but

they are not entitled to habeas relief based on trial error unless they can

establish that it resulted in ‘actual prejudice.’” Brecht, at 637 (quoting United

States v. Lane, 474 U.S. 438, 449 (1986)). A federal habeas court must assess

the prejudicial impact of constitutional error in a state court criminal trial under

the Brecht harmless error analysis regardless of whether the state court found

error and review it for harmlessness. Fry v. Pliler, 551 U.S. 112, 121-22 (2007).

      To start, even if Lora’s pre-trial lineup identification of Braziel was

somehow “so impermissibly suggestive as to give rise to a substantial likelihood

of misidentification,” her in-court identification of Braziel would still be

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admissible because it was made independent of the initial line-up. In United

States v. Wade, the Supreme Court held that a witness who has made an

unconstitutional pre-trial lineup identification should not be allowed to make a

subsequent in-court identification unless the State can establish “by clear and

convincing evidence that the in-court identifications were based upon

observations of the suspect other than the lineup identification.” 388 U.S. 218,

239-40 (1967) (citing Murphy v. Waterfront Commission, 378 U.S. 52, 79 (1964)).

The Court further determined that various factors should be considered in

determining whether the in-court identification derives from an independent

source other than the line-up, which included, among other things, whether the

witness had a prior opportunity to have observed the criminal act, and the

existence of any discrepancy between any pre-lineup description and the

defendant's actual description. Wade, 388 U.S. at 241.

      As discussed previously, Lora observed Braziel at a close proximity for ten

to twenty minutes as he committed these heinous crimes, and her description of

Braziel to police was consistent with Braziel physical appearance. She also

testified that her in-court identification was based on what she observed the

night of the offense and not based on the photograph identification. 29 RR 55;

30 RR 77.   There was no question in her mind that Braziel was the man who

committed these crimes, and stated that she would never forgot what he looks

like. 29 RR 7, 18, 46-47, 55; 30 RR 76. This constitutes clear and convincing

evidence that Lora’s identification of Braziel during the trial derived

independent of the line-up, and would thus still have been admissible regardless

of whether the pre-trial lineup violated his due process rights.

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      Furthermore, any error in admitting the pre-trial lineup was harmless due

to the overwhelming nature of the DNA evidence presented at trial.              As

discussed in more detail in the Statement of Facts section, supra, Braziel’s blood

and saliva were taken and placed in the CODIS system after he was

incarcerated for a separate offense. Once placed in the system, Braziel’s DNA

was matched to the DNA profile extracted from the vaginal swab and panties

taken from Lora immediately following the offense. Three separate laboratories

all confirmed that Braziel’s DNA profile matched the DNA profile taken from

Lora’s rape examination.     As such, it is clear that an error that may have

occurred in admitting Lora’s pre-trial identification did not result in any actual

prejudice to Braziel.

      For the foregoing reasons, Braziel has wholly failed to demonstrate how

the state court’s adjudication of this claim is contrary to, or an unreasonable

application of, clearly established federal law. As a result, federal habeas relief

should be denied.

VI.   The  Texas     Future   Dangerousness          Special    Issue    Is    Not
      Unconstitutionally Vague (Claim 6).

      During the punishment phase of Braziel’s trial, the jury was charged with

answering the following special issue:

      Do you find from the evidence beyond a reasonable doubt that there
      is a probability that the defendant, Alvin Avon Braziel, Jr., would
      commit criminal acts of violence that would constitute a continuing
      threat to society?

CR 102; see also Tex. Code Crim. Proc. art. 37.071 § 2(b)(1). Braziel contends

that this special issue is unconstitutional because the description of the


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“aggravating factors” is vague and does not properly channel the jury’s

discretion. Petition at 40-49. In particular, Braziel points out that the terms

“probability,” “criminal acts of violence,” and “continuing threat to society” are

undefined for the jury by either statute or case law. Id. at 43. Because these

terms are not defined, Braziel argues that individual jurors are left to guess at

the meaning of the terms and end up giving the various terms different

meanings, resulting in the random and arbitrary assessment of the death

penalty. Id. at 43-49. This claim was rejected by the Court of Criminal Appeals

on direct appeal based on the court’s prior decisions finding that these terms

need not be defined. Braziel v. State, slip op. at 14. Because the Texas courts’

rejection of this claim was neither contrary to nor an unreasonable application

of clearly established federal law, Braziel is not now entitled to relief.

      To start, the future dangerousness special issue is part of the Texas capital

punishment scheme that has been repeatedly upheld by the United States

Supreme Court against similar challenges. See Johnson v. Texas, 509 U.S. 350,

373 (1993); Franklin v. Lynaugh, 487 U.S. 164 (1988); Jurek v. Texas, 428 U.S.

262 (1976); see also Pulley v. Harris, 465 U.S. 37, 50 n. 10 (1983)(stating that

Texas’s punishment issues are not impermissibly vague because they have a

“common sense core of meaning”). The Fifth Circuit has also repeatedly rejected

similar arguments that the words used in the punishment issues have such

imprecise meanings in the context of a capital murder trial that the jury cannot

discern what is being asked without having those terms defined in the jury

instructions. Hughes v. Johnson, 191 F.3d 607 (5th Cir. 1999); James v. Collins,

987 F.2d 1116, 1120 (5th Cir. 1993)(rejecting claim that court should have

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defined “deliberately”); Milton v. Procunier, 744 F.2d 1091, 1095 (5th Cir. 1984)

(“Under Texas law, these terms are sufficiently common that their definition is

not required in a jury charge under the capital murder statute.”).

      Furthermore, a more precise definition of what is required under the

future dangerousness special issue is unnecessary because its terms are not

unconstitutionally vague, but rather are “sufficiently common” that the jury is

presumed to understand them without instruction. Indeed, the Texas special

issues have a “common-sense core of meaning . . . that criminal juries should be

capable of understanding,” and are more than adequate to perform their function

of permitting jury consideration of a broad array of evidence, while at the same

time minimizing the possibility of arbitrariness by focusing the jury’s

consideration on the particularized circumstances of the offense and the

offender. Tuilaepa v. California, 512 U.S. 967, 973 (1994).

      The Supreme Court has explained that to satisfy the requirements of the

Eighth Amendment, a capital sentencing scheme must both (1) “genuinely

narrow the class of persons eligible for the death penalty and . . . reasonably

justify the imposition of a more severe sentence on the defendant compared to

others found guilty of murder,” and (2) provide for individualized consideration

of the particular offender and offense. Zant v. Stephens, 462 U.S. 862, 877

(1983); Johnson v. Texas, 509 U.S. at 372-73; see also Barclay v. Florida, 463

U.S. 939, 958 (1983).    Under the Texas scheme, the first constitutionally

required narrowing function is performed by the penal statute defining the

offense of capital murder, Texas Penal Code Section 19.03, which encompasses

aggravating elements that distinguish capital murder from simple murder.

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Jurek, 428 U.S. at 268-71; Lowenfield v. Phelps, 484 U.S. 231, 243-46 (1988).

Where, as in Texas, this “eligibility” decision is performed at the guilt-innocence

phase, further narrowing at the punishment phase is not required. Id. at 246.

Thus, contrary to Braziel’s assertion, the fact that the Texas sentencing jury

must also answer special issues to impose the death penalty is not part of the

constitutionally-required narrowing process.

      The Texas special issues actually represent the second constitutional

requirement, or the “selection” decision, where the jury determines whether a

death-eligible defendant should in fact receive that sentence. The Supreme

Court applied a vagueness analysis to the “selection” aspect of the capital

decision-making process for the first time in Tuilaepa. The Tuilaepa Court held

that the standard for analyzing vagueness claims in the context of the selection

decision is whether the factor has some “common-sense core of meaning ... that

criminal juries should be capable of understanding.” 512 U.S. at 973 (citing

Jurek, 428 U.S. at 279 (White, J., concurring in judgment)). The Court also held

that review of vagueness claims must be quite deferential because “the proper

degree of definition” of factors often “is not susceptible of mathematical

precision.” Id.

      The Court further recognized that with regard to the selection decision,

states are free to adopt capital-sentencing procedures that allow a jury to

exercise wide discretion. While eligibility-phase factors must almost of necessity

involve an answer to a question with a factual nexus to the crime or the

defendant to “make rationally reviewable the process for imposing a sentence of


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death,” the selection decision must be “expansive enough to accommodate

relevant mitigating evidence” to assure “an individualized determination [of the

defendant’s culpability] on the basis of the character of the individual and the

circumstances of the crime.”       Id. at 972 (internal quotations omitted); see

Eddings v. Oklahoma, 455 U.S. 105, 110 (1982); Lockett v. Ohio, 438 U.S. 586

(1978) (plurality opinion).16 The Court also noted the “obvious utility” to the

capital defendant “of these open-ended [selection-phase] factors as part of a

neutral sentencing process.” Tuilaepa, 512 U.S. at 973-74. Finally, the Court

found that the controlling objective when examining eligibility or selection

factors for vagueness is whether the state’s sentencing procedure is “neutral and

principled so as to guard against bias or caprice in the sentencing decision,”

which was condemned in Furman v. Georgia, 408 U.S. 238 (1972). Id. at 973.

      Applying the deferential standard of review recognized by the Court in

Tuilaepa, the above-mentioned terms in the Texas special issues are not

unconstitutionally vague. These terms are meaningful, evidentiary inquiries to

be determined from facts and circumstances, and do not even resemble the kinds

of “pejorative adjectives . . . that describe a crime as a whole and that [the

Supreme] Court has held to be unconstitutionally vague.” Arave v. Creech, 507

U.S. 463, 475-476 (1993); see Tuilaepa, 512 U.S. at 974. Indeed, the Supreme

Court has never suggested, much less held, that the terms Braziel complains


      16
             These decisions stand for the principle that “the Eighth and Fourteenth
Amendments require that the sentencer ... not be precluded from considering, as a
mitigating factor, any aspect of a defendant’s character or record and any of the
circumstances of the offense that the defendant proffers as a basis for a sentence less
than death.” Lockett, 438 U.S. at 604.

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about, or any other term for that matter, must be defined. See, e.g., Johnson,

509 U.S. at 350; Jurek, 428 U.S. at 262. Rather, the Court has expressly held

that the Texas special issues possess a “common-sense core of meaning” and

“criminal juries should be capable of understanding them.” Jurek, 428 U.S. at

279 (White, J., concurring). Therefore, the special issues, while permitting the

jury to consider a broad array of evidence, minimize the possibility of

arbitrariness by focusing the jury’s consideration on the particularized

circumstances     of   the   offense   and    the   offender,   and   are   thus   not

unconstitutionally vague.

      Braziel simply fails to cast doubt upon the validity of the Supreme Court’s

decisions holding that the Texas death penalty system is constitutionally

adequate. But to rule otherwise and hold that Texas must now define the terms

used in the special issues would also require the announcement and retroactive

application of a new rule of constitutional law in violation of Teague v. Lane, 489

U.S. 288 (1989). Under Teague, new rules of constitutional criminal procedure 17

will not be announced on federal habeas review and then retroactively applied

unless an exception applies. 489 U.S. at 301. The first exception to Teague’s

retroactivity limitation is for rules that would place primary conduct beyond the

government’s power to proscribe or a class of persons beyond its power to punish

in certain ways. Graham v. Collins, 506 U.S. 461, 477 (1993). The second



      17
             “[A] case announces a new rule when it breaks new ground or imposes a
new obligation on the States or on the federal Government [.] To put it differently, a
case announces a new rule if the result was not dictated by precedent existing at the
time the defendant’s conviction became final.” Teague, 489 U.S. at 301.

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Teague exception is reserved for bedrock rules of criminal procedure that are

necessary to ensure a fundamentally fair trial. Id. In Braziel’s case, however,

he fails to establish that the relief he requests falls under either exception to

Teague’s retroactivity limitation.18

       Braziel’s requested relief without question calls for a new rule of

constitutional law because the Supreme Court has expressly and unambiguously

rejected similar challenges to the future dangerousness special issue. See Jurek,

428 U.S. 262; Franklin, 487 U.S. 164; Johnson, 509 U.S. at 373. For this Court

to now hold to the contrary would establish a new rule in violation of Teague.

Yet Braziel’s proposed rule certainly is not the type of rule contemplated by the

Court’s first Teague exception. Further, Braziel cannot meet Teague’s second

exception because his proposed rule would not be “implicit in the concept of

ordered liberty.” Teague, 489 U.S. at 313; see also Graham, 506 U.S. at 477. As

a result, Braziel’s allegation is unquestionably barred by the non-retroactivity

principle of Teague.

       Thus, in light of the state courts’ reasonable rejection of this claim, the

AEDPA mandates the denial of federal habeas corpus relief as well.

VII.   The Constitution Does Not Require Jurors to Be Instructed Regarding
       the Effect of a Single Negative Vote to the Special Issues (Claim 7).

       In his final claim for relief, Braziel submits that the Texas capital

punishment scheme is unconstitutional because it fails to inform the jury

regarding the consequences of a single negative vote on the special issues.


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             Indeed, Braziel fails to even acknowledge Teague. Petition at 40-49.

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Petition at 49-54. Specifically, he contends that the Eighth and Fourteenth

Amendments require jurors to be instructed that a life sentence is automatically

imposed if the jury is unable to respond unanimously to the special issues. Id.

On direct appeal, the Court of Criminal Appeals rejected this claim along with

a number of other challenges to the trial court’s jury charge, finding that this

argument has been raised and rejected previously. Braziel v. State, slip op. at

14. Because this claim is wholly without merit, and because Braziel has failed

to establish that the state court’s adjudication of this claim was either contrary

to or involved an unreasonable application of clearly established federal law, his

request for federal habeas relief on this claim should be denied.

      Braziel’s jury received the following instructions concerning the first

special issue:

      The State has the burden of proving beyond a reasonable doubt that
      special issue one should be answered “yes.”


      You shall consider all evidence admitted at the guilt or innocence
      stage and the punishment stage, including evidence of the
      defendant’s background or character or the circumstances of the
      offense that mitigates for or mitigates against the imposition of the
      death penalty.


      You may not answer special issue one “yes” unless the jury agrees
      unanimously, and you may not answer special issue one “no” unless
      10 or more members of the jury agree.


      The members of the jury need not agree on what particular evidence
      supports a negative answer to special issue one.




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      If you do not find and believe from the evidence beyond a reasonable
      doubt that the answer to special issue one should be “yes,” or if you
      have a reasonable doubt thereof, then you shall answer special issue
      one “no.”


      If you have answered special issue one “no” then you shall cease
      your deliberations. If you have found beyond a reasonable doubt
      that the answer to special issue one is “yes” then you shall next
      consider special issue two.

Regarding the second special issue, the mitigation special issue, Braziel’s jury

received the following instructions:

      You not answer special issue two “no” unless the jury agrees
      unanimously, and you may not answer special issue two “yes” unless
      10 or more members of the jury agree.


      The members of the jury need not agree on what particular evidence
      supports an affirmative finding on special issue two.


      In arriving at your answer, you shall consider mitigating evidence
      to be evidence that a juror might regard as reducing the defendant’s
      moral blameworthiness.


      You are further instructed that if the jury returns an affirmative
      finding on special issue one and a negative finding on special issue
      two, the Court shall sentence the defendant to death. If the jury
      returns a negative finding on special issue one, the Court shall
      sentence the defendant to confinement in the Institutional Division
      of the Texas Department of Criminal Justice for life.

CR 97-98.

      Finally, Braziel’s jury was instructed that they were not to be swayed “by

mere sentiment, conjecture, sympathy, passions, prejudices, public opinion or


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public feeling in considering all of the evidence” before them. CR 99. The jury

was not instructed, however, that if it failed to answer either issue (because the

ten or twelve votes could not be mustered), the judge would sentence Braziel to

life in prison. Tex. Code Crim. Proc. art. 37.071, § 2(g).

      Braziel contends that the trial court’s failure to explain the consequences

of the jury’s inability to reach a verdict on the special issues generated confusion

among jurors and created a danger that confused jurors would acquiesce to the

“majority rules mentality” rather than hold out. As a result, he argues that the

“12-10” rule itself violates the principles of the Eighth and Fourteenth

Amendments that protect him from cruel and unusual punishment. Yet, the

Supreme Court has explicitly rejected the theory that the Eighth Amendment

requires jurors to be instructed as to the consequence of their failure to agree.

Jones v. United States, 527, U.S. 373, 381 (1999).

      In   Jones,   the    Court   first    noted   that     petitioner’s   requested

instruction—informing the jury regarding the consequences of a deadlock— was

not essential to either of the functions constitutionally required in all capital

sentencing schemes. That is, the instruction had no bearing on the “eligibility

decision” of the sentencing process, nor did the failure to issue such an

instruction prevent the jury from broadly inquiring into all constitutionally

mitigating evidence, as required to make the “selection decision.” Id. at 381.

The Court also rejected the idea that the trial court, by neglecting to inform a

jury regarding the consequences of its failure to reach a verdict, “affirmatively

mislead[s] [the jury] regarding its role in the sentencing process.” Id. at 281-82.


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The Court reasoned that an instruction informing the jury that a life sentence

would be imposed if it could not reach a unanimous verdict had no bearing on

the jury’s role in the sentencing process. Id. Rather, such an instruction “speaks

to what happens in the event that the jury is unable to fulfill its role—when

deliberations break down and the jury is unable to produce a unanimous

sentence recommendation.” Id.

      Braziel attempts to support his assertion by claiming that Mills v.

Maryland, 486 U.S. 367 (1988), established that a constitutional violation occurs

under the Texas scheme because reasonable jurors instructed pursuant to

Article 37.071 are led to believe that ten jurors must agree to a “negative”

response to a special issue in order to give effect to any mitigating circumstance.

Thus, if only one juror was inclined to vote negatively in response to one of the

special issues, it would be reasonable for that juror to conclude that his/her vote

was meaningless and of no value unless nine other jurors joined them. He

further submits that this creates an impermissible risk that such jurors will

succumb to “majority rule” rather than hold out. However, Braziel’s reliance

upon Mills is misplaced.19

      In Mills, the Court reversed the death sentence because the jury

instructions may have precluded the jury from considering mitigating evidence

unless all twelve jurors agreed on the existence of a particular circumstance



      19
           See Alexander v. Johnson, 211 F.3d 895, 897 (5th Cir. 2000) (specifically
rejecting both Fourteenth and Eighth Amendment challenges to the Texas “12-10”
rule); Miller v. Johnson, 200 F.3d 274, 288-89 (5th Cir. 2000) (holding Mills
inapplicable to a Texas capital sentencing proceeding).

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supported by that evidence. 486 U.S. at 384. “[E]ach juror [must] be permitted

to consider and give effect to mitigating evidence when deciding the ultimate

question of whether to vote for a sentence of death.” McKoy v. North Carolina,

494 U.S. 433, 442-43 (1990). But the Texas statutory scheme is materially

distinguishable from the capital punishment statute that yielded the

unconstitutional jury instruction in Mills. Whereas the Maryland jury deciding

punishment in Mills was required to first determine the existence of specific

mitigating factors before giving them effect by balancing them against the

aggravating factors present, jurors in the instant case were permitted to

individually take into account any mitigating circumstance when casting their

vote on the special issues. See Jacobs v. Scott, 31 F.3d 1319, 1328-29 (5th Cir.

1994). That is, one juror could not preclude the entire jury from considering a

mitigating circumstance. Thus, Mills is inapplicable. Id.

      Further, the plain language of the jury instruction in the instant case does

not support Braziel’s assertion that a reasonable juror would believe that an

individual negative response was meaningless unless accompanied by similar

responses from nine other jurors. The jury instructions clearly stated that the

jury could not answer the first special issue “yes” unless they agreed

unanimously, and explained that the ten jurors needed for a “no” answer “need

not agree on what particular evidence supports a negative answer” to the issue.

CR 97. Similarly, the jurors were instructed that they could not answer the

second special issue “no” unless they agreed unanimously, and explained that

the ten jurors needed for a “yes” answer “need not agree on what particular



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evidence supports an affirmative finding.” CR 98. With this knowledge, a

reasonable juror could deduce, at a minimum, that a jury verdict for a death

sentence required unanimity—which one single “no” vote could defeat. Thus,

even without the specific knowledge that the effect of a single “no” vote would

result in the automatic imposition of a life sentence, a juror could reasonably

find value and meaning in his or her individual vote.

      Because neither the Eighth Amendment nor the Fourteenth Amendment

necessitates a jury instruction regarding the consequences of a jury’s inability

to reach a unanimous verdict during capital sentencing hearings, this claim

must fail. Furthermore, even if this claim had merit, the Fifth Circuit has

repeatedly held that a claim challenging the “12-10” rule is barred under the

non-retroactivity principle of Teague. Hughes v. Dretke , 412 F.3d 582, 594 (5th

Cir. 2005) (holding extension of the rule in Mills to Texas is foreclosed by

Teague); Alexander, 211 F.3d at 897; Webb v. Collins, 2 F.3d 93, 95-96 (5th Cir.

1993). Braziel has not, therefore, stated a ground upon which this Court may

grant relief, and this claim must be denied.

                                CONCLUSION

      For the foregoing reasons, the Director respectfully requests that Braziel’s

petition for writ of habeas corpus be denied, and that no Certificate of

Appealability issue in this case.

                                     Respectfully submitted,

                                     GREG ABBOTT
                                     Attorney General of Texas


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                                  DANIEL T. HODGE
                                  First Assistant Attorney General

                                  DON CLEMMER
                                  Deputy Attorney General
                                  for Criminal Justice

                                  EDWARD L. MARSHALL
                                  Chief, Postconviction Litigation Division




                                    s/ Jeremy Greenwell
                                  JEREMY C. GREENWELL*
                                  Assistant Attorney General
                                  Postconviction Litigation Division
                                  State Bar No. 24038926

                                  P.O. Box 12548, Capitol Station
                                  Austin, Texas 78711-2548
                                  (512) 936-1600
                                  (512) 320-8132 (Fax)
                                  E-mail: jeremy.greenwell@oag.state.tx.us

*Lead Counsel                     ATTORNEYS FOR RESPONDENT




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                        CERTIFICATE OF SERVICE

      I certify that on the 14th day of February, 2011, a copy of the above

pleading was electronically served to the following counsel for Braziel by filing

the foregoing document with the Clerk of the Court for the U.S. District Court,

Northern District of Texas, using the electronic case filing system of the court.




DON VERNAY                                  RICHARD WARDROUP
1604 Golf Course Road SE                    P.O. Box 879
Rio Rancho, NM 87124                        1001 Maine Street, Suite 707
minimal243@yahoo.com                        Lubbock, TX 79401
                                            rickwardroup@gmail.com




                                       s/ Jeremy Greenwell
                                     JEREMY C. GREENWELL
                                     Assistant Attorney General




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